Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 1 of 53 PageID #: 1914




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK

STUART FORCE individually and as personal
representative of the ESTATE OF TAYLOR FORCE,
et al.,

                           Plaintiffs,
                                                     Civil Action No. 1:20-CV-02578
                      v.

QATAR CHARITY, QATAR NATIONAL BANK
and MASRAF AL RAYAN,

                           Defendants.



           DEFENDANT QATAR CHARITY’S REPLY MEMORANDUM
          IN SUPPORT OF ITS MOTION TO DISMISS THE COMPLAINT




                                          DLA PIPER LLP (US)
                                          John M. Hillebrecht
                                          Kevin Walsh
                                          Jessica Masella

                                          1251 Avenue of the Americas
                                          New York, New York 10020
                                          Phone: (212) 335-4500
                                          Email:     John.Hillebrecht@us.dlapiper.com
                                                     Kevin.Walsh@us.dlapiper.com
                                                     Jessica.Masella@us.dlapiper.com

                                          Counsel for Defendant Qatar Charity

                                    April 13, 2022
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 2 of 53 PageID #: 1915




                                                   TABLE OF CONTENTS

                                                                                                                                           Page
PRELIMINARY STATEMENT .....................................................................................................1
ARGUMENT ...................................................................................................................................5
I.        PLAINTIFFS FAIL TO SHOW QATAR CHARITY IS SUBJECT TO
          PERSONAL JURISDICTION IN NEW YORK .................................................................5
          A.         Qatar Charity is Not Subject to Personal Jurisdiction Under Rule 4(k)(2)............11
                     i.         Rule 4(k)(2) is Inapplicable Because Plaintiffs Failed to Certify
                                that Qatar Charity is Not Subject to Personal Jurisdiction in Any
                                State’s Courts of General Jurisdiction .......................................................11
                     ii.        Rule 4(k)(2) is Inapplicable Because Due Process Forbids
                                Exercising Jurisdiction Over Qatar Charity ...............................................13
                                1.         Masraf Al Rayan’s Alleged Contacts in New York are
                                           Insufficient to Confer Jurisdiction Under Rule 4(k)(2) .................16
                                2.         Qatar Charity is Not Subject to 4(k)(2) Jurisdiction Under
                                           an Agency Theory ..........................................................................16
                                3.         Qatar Charity is Not Subject to 4(k)(2) Jurisdiction Under a
                                           Conspiracy Theory .........................................................................19
                                4.         The Due Process Reasonableness Factors Counsel Against
                                           Imposing Jurisdiction .....................................................................23
          B.         Plaintiffs’ “Alternative” Basis For Jurisdiction Fails Because Qatar
                     Charity is Not Subject to Jurisdiction Under New York’s Long-Arm
                     Statute ....................................................................................................................24
                                1.         CPLR Section 302(a)(1) Does Not Apply .....................................24
                                2.         CPLR Section 302(a)(2) Does Not Apply .....................................29
II.       PLAINTIFFS FAIL TO STATE ANY CLAIM FOR RELIEF .........................................32
          A.         Counts III and IV Must Be Dismissed As Plaintiffs Fail to Plead a Primary
                     Liability Claim .......................................................................................................32
                     i.         Plaintiffs Fail to Plead that Qatar Charity Committed Any Act of
                                International Terrorism ..............................................................................33
                     ii.        Plaintiffs Fail to Plausibly Allege That Qatar Charity Proximately
                                Caused the Attacks .....................................................................................35
          B.         Counts I and II Must Be Dismissed For Failure to Plausibly Plead a
                     Secondary Liability Claim .....................................................................................37
                     i.         Plaintiffs Have not Plausibly Alleged a JASTA Conspiracy Claim ..........37
                     ii.        Plaintiffs Have Not Plausibly Alleged a JASTA Aiding-And-
                                Abetting Claim ...........................................................................................38


                                                                        i
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 3 of 53 PageID #: 1916




III.      PLAINTIFFS FAILED TO PROPERLY EFFECT SERVICE OF PROCESS & A
          REQUEST TO SERVE BY EMAIL DOES NOT CURE THE FAILURE ......................41
IV.       CLAIMS AS TO FOREIGN PLAINTIFFS CONTINUE TO DEMONSTRATE
          THE PLAINTIFFS LACK STANDING TO BRING PERSONAL INJURY
          CLAIMS UNDER THE ATA ............................................................................................41
V.        THIS COURT’S ORDER REGARDING JURISDICTIONAL DISCOVERY
          SHOULD STAND AND ANY RECONSIDERATION SHOULD FOLLOW A
          FULL BRIEFING ..............................................................................................................41
CONCLUSION ..............................................................................................................................43




                                                                    ii
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 4 of 53 PageID #: 1917




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Aaron Ferer & Sons Ltd. v. Chase Manhattan Bank, Nat. Ass’n,
   731 F.2d 112 (2d Cir. 1984)...............................................................................................19, 27

AG of Can. v. R.J. Reynolds Tobacco Holdings, Inc.,
   268 F.3d 103 (2d Cir. 2001).....................................................................................................41

Alexander v. Porter,
   2014 WL 7391683 (E.D.N.Y. Dec. 29, 2014) .........................................................................42

Allianz Glob. Inv’rs GMBH v. Bank of Am. Corp.,
    457 F. Supp. 3d 401 (S.D.N.Y. 2020)......................................................................................21

Aqua Shield, Inc. v. Inter Pool Cover Team,
   2007 WL 4326793 (E.D.N.Y. Dec. 7, 2007) ...........................................................................12

Arch Trading Corp. v. Republic of Ecuador,
   839 F.3d 193 (2d Cir. 2016).....................................................................................................43

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .................................................................................................................32

Astor Chocolate Corp. v. Elite Gold Ltd.,
   510 F. Supp. 3d 108 (S.D.N.Y. 2020)......................................................................................12

Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez,
   171 F.3d 779 (2d Cir. 1999).....................................................................................................30

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) .................................................................................................................32

In re Bemis Co. Sec. Litig.,
    512 F. Supp. 3d 518 (S.D.N.Y. 2021)......................................................................................19

Berdeaux v. OneCoin Ltd.,
   2021 WL 4267693 (S.D.N.Y. Sept. 20, 2021) ................................................................. passim

Berkshire Bank v. Lloyds Banking Grp.,
   2022 WL 569819 (2d Cir. Feb. 25, 2022)..............................................................20, 28, 31, 32

Bluewaters Commc’ns Holdings v. Ecclestone,
   122 A.D.3d 426 (1st Dep’t 2014) ............................................................................................30




                                                                    iii
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 5 of 53 PageID #: 1918




Chambers v. Time Warner Inc.,
   282 F.3d 147 (2d Cir. 2002).....................................................................................................34

Charles Schwab Corp. v. Bank of Am. Corp.,
   883 F.3d 68 (2d Cir. 2018) (Schwab I) ............................................................................ passim

Clean Coal Techs. v. Leidos, Inc.,
   377 F. Supp. 3d 303 (S.D.N.Y. 2019)......................................................................................30

Contant v. Bank of Am. Corp.,
   385 F. Supp. 3d 284 (S.D.N.Y. 2019)......................................................................................31

Cordice v. LIAT Airlines,
   2015 WL 5579868 (E.D.N.Y. Sept. 22, 2015) ........................................................................14

CutCo Industries, Inc. v. Naughton,
   806 F.2d 361 (2d Cir. 1986).....................................................................................................16

In re Dental Supplies Antitrust Litig.,
    2017 WL 4217115 (E.D.N.Y. Sept. 20, 2017) (BMC) ............................................................22

Denton v. Hernandez,
   504 U.S. 25 (1992) ...................................................................................................................33

DISH Network, LLC. v. Kaczmarek,
   2021 WL 4483470 (E.D.N.Y. June 24, 2021) .............................................................11, 12, 14

E-Z Bowz, L.L.C. v. Pro. Prod. Rsch. Co.,
   2003 WL 22064259 (S.D.N.Y. Sept. 5, 2003) .........................................................................28

In re Eur. Gov’t Bonds Antitrust Litig.,
    2022 WL 768680 (S.D.N.Y. Mar. 14, 2022) ...........................................................................24

Exp.-Imp. Bank of U.S. v. Asia Pulp & Paper Co.,
   609 F.3d 111 (2d Cir. 2010)...............................................................................................19, 27

Fields v. Twitter, Inc.,
    881 F.3d 739 (9th Cir. 2018) ...................................................................................................36

Ford Motor Co. v. Montana Eighth Jud. Dist. Ct.,
   141 S. Ct. 1017 (2021) .............................................................................................................15

Freeman v. HSBC Holdings PLC,
   413 F. Supp. 3d 67 (E.D.N.Y. 2019) .................................................................................29, 35

Fuld v. Palestine Liberation Org.,
   2022 WL 62088 (S.D.N.Y. Jan. 6, 2022) (appeal filed) ..........................................................24



                                                                    iv
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 6 of 53 PageID #: 1919




Gallop v. Cheney,
   642 F.3d 364 (2d Cir. 2011)...............................................................................................32, 33

George Moundreas & Co SA v. Jinhai Intelligent Mfg. Co Ltd,
   2021 WL 168930 (S.D.N.Y. Jan. 18, 2021) ............................................................................14

Gill v. Arab Bank, PLC,
    893 F. Supp. 2d 474 (E.D.N.Y. 2012) .....................................................................................36

Glencore Grain Rotterdam B.V. v. Shivnath Rai Harnarain Co.,
   284 F.3d 1114 (9th Cir. 2002) .................................................................................................14

Global Network Commc’ns, Inc. v. City of New York,
   458 F.3d 150 (2d Cir. 2006).......................................................................................................4

Gonzalez v. Google, Inc.,
   335 F. Supp. 3d 1156 (N.D. Cal. 2018) ...................................................................................36

Grove Press, Inc. v. Angleton,
   649 F.2d 121 (2d Cir. 1981)...............................................................................................16, 25

Halberstam v. Welch,
   705 F.2d 472 (D.C. Cir. 1983) ...........................................................................................39, 40

Hau Yin To v. HSBC Holdings, PLC,
   700 F. App’x 66 (2d Cir. 2017) .........................................................................................16, 35

Helicopteros Nacionales de Colombia, S.A. v. Hall,
   466 U.S. 408 (1984) .................................................................................................................15

Honickman v. BLOM Bank SAL,
   6 F.4th 487 (2d Cir. 2021) .................................................................................................39, 40

Kaplan v. Lebanese Canadian Bank, SAL,
   999 F.3d 842 (2nd Cir. 2021).............................................................................................38, 39

Kreutter v. McFadden Oil Corp.,
   71 N.Y.2d 460 (1988) ..............................................................................................................16

Langenberg v. Sofair,
   2006 WL 2628348 (S.D.N.Y. Sept. 11, 2006) .........................................................................42

Lawati v. Montague Morgan Slade Ltd.,
   961 N.Y.S.2d 5 (1st Dep’t 2013) .......................................................................................31, 32

Leutwyler v. Office of Her Majesty Queen Rania Al-Abdullah,
   184 F.Supp.2d 277 (S.D.N.Y. 2001)........................................................................................38



                                                                    v
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 7 of 53 PageID #: 1920




Levisohn, Lerner, Berger & Langsam v. Med. Taping Sys.,
   10 F. Supp. 2d 334 (S.D.N.Y. 1998)........................................................................................28

Licci ex rel. Licci v. Lebanese Canadian Bank, SAL,
    732 F.3d 161 (2d Cir. 2013).....................................................................................................23

Military Public Prosecution v. Najwan Mohammed Iman Hassan Awda
   (Feb. 8, 2017) .............................................................................................................................8

Miller v. Arab Bank, PLC,
   372 F.Supp.3d 33 (E.D.N.Y. 2019) .........................................................................................35

In re N. Sea Brent Crude Oil Futures Litig.,
    2017 WL 2535731 (S.D.N.Y. Jun. 18, 2017) ..........................................................................29

O’Sullivan v. Deutsche Bank AG,
   2019 WL 1409446 (S.D.N.Y. March 28, 2019) ......................................................................37

Owens v. BNP Paribas, S.A.,
  897 F.3d 266 (D.C. Cir. 2018) .................................................................................................36

PharmacyChecker.com, LLC v. Nat’l Ass’n of Boards of Pharmacy,
   530 F. Supp. 3d 301 (S.D.N.Y. 2021)......................................................................................29

Pincione v. D’Alfonso,
   506 F. App’x 22 (2d Cir. 2012) ...............................................................................................18

In re Platinum & Palladium Antitrust Litig.,
    449 F. Supp. 3d 290 (S.D.N.Y. 2020)....................................................................20, 21, 22, 23

Porina v. Marward Shipping Co., Ltd.,
   521 F.3d 122 (2d Cir. 2008)...............................................................................................14, 15

Rich v. Fox News Network LLC,
   2020 WL 6276026 (S.D.N.Y. 2020) ..................................................................................28, 29

Rudersdal v. Harris,
   2022 WL 263568 (S.D.N.Y. Jan. 28, 2022) ......................................................................20, 22

Schwab Short-Term Bond Mkt. Fund v. Lloyds Banking Grp. PLC,
   22 F.4th 103 (2d Cir. 2021) (Schwab II).......................................................................... passim

Siegel v. HSBC North America Holdings,
    933 F.3d 217 (2d Cir. 2019)...............................................................................................36, 40

SK’s Cosm. Boutique Inc. v. J.R. Silverberg Realty,
   2020 WL 3451324 (S.D.N.Y. Jun. 24, 2020) ..........................................................................30



                                                                      vi
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 8 of 53 PageID #: 1921




SL-X IP S.Á.R.L. v. Bank of Am. Corp.,
   2021 WL4523711 (S.D.N.Y. Sep. 30, 2021) ...........................................................................21

Smartmatic United States Corp. v. Fox Corp.,
   2022 WL685407 (Sup. Ct. N.Y. Cty. Mar. 18, 2022) .......................................................27, 29

Spetner v. Palestine Inv. Bank,
   495 F. Supp. 3d 96 (E.D.N.Y. 2020) .....................................................................12, 18, 19, 27

In re SSA Bonds Antitrust Litig.,
    420 F. Supp. 3d 219 (S.D.N.Y. 2019)..........................................................................12, 13, 15

Staehr v. Hartford Fin. Servs. Grp., Inc.,
    547 F.3d 406 (2d Cir. 2008).......................................................................................................4

Stansell v. BGP, Inc.,
   2011 WL 1296881 (M.D. Fla. Mar. 30, 2011) ........................................................................35

Suber v. VVP Servs., LLC,
   2021 WL 4429237 (S.D.N.Y. Sept. 27, 2021) .........................................................................28

Tamam v. Fransabank,
   677 F. Supp. 2d 720 (S.D.N.Y. 2010)......................................................................................17

In re Terrorist Attacks,
    714 F.3d 118 (2nd Cir. 2013)...................................................................................................36

In re Terrorist Attacks on September 11, 2001,
    714 F.3d 659 (2d Cir. 2013).....................................................................................................12

Universal Trading & Inv. Co. v. Tymoshenko,
   2012 WL 6186471 (S.D.N.Y. Dec. 12, 2012) .........................................................................25

Vasquez v. Hong Kong and Shanghai Banking Corp., Ltd.,
   477 F. Supp. 3d 241 (S.D.N.Y. 2020)..........................................................................18, 22, 27

Walden v. Fiore,
   571 U.S. 277 (2014) ...........................................................................................................15, 22

Weiss v. Nat’l Westminster Bank PLC,
   768 F.3d 202 (2d Cir. 2014).................................................................................................6, 38

World-Wide Volkswagen Corp. v. Woodson,
  444 U.S. 286 (1980) .................................................................................................................23

Wright v. Ernst & Young LLP,
   152 F.3d 169 (2d Cir. 1998).....................................................................................................19



                                                                  vii
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 9 of 53 PageID #: 1922




Zapata v. HSBC Holdings PLC,
   414 F. Supp. 3d 342 (E.D.N.Y. 2019), aff’d, 825 F. App’x 55 (2d Cir. 2020)........................36

Statutes & Other Authorities

2d Cir. L.R. 32.1.1(a) .....................................................................................................................20

18 U.S.C. § 233 et seq................................................................................................................6, 38

28 U.S.C. § 1603 ......................................................................................................................38, 43

Fed. R. Civ. P. 4(k)(2)............................................................................................................ passim

N.Y. U.C.C. § 4–A–212 .................................................................................................................19

N.Y. C.P.L.R. 302 .................................................................................................................. passim




                                                                    viii
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 10 of 53 PageID #: 1923




                                  PRELIMINARY STATEMENT

       Plaintiffs’ 83-page Omnibus Memorandum of Law (“Plaintiffs’ Opposition”) does nothing

to cure the deficiencies of a Complaint based entirely on conclusory and wholly implausible

allegations. These deficient allegations fail to state a claim under the Justice Against Sponsors of

Terrorism Act (“JASTA”) and the Anti-Terrorism Act (“ATA”). Nor do they constitute a prima

facie showing that jurisdiction exists over Qatar Charity—an entity which has no contact

whatsoever with this forum. Under the law previously cited to the Court, this case must be

dismissed as to Qatar Charity.

       Plaintiffs’ Opposition devotes most of its bulk to unsubstantiated claims—many absent

from the Complaint itself—that Qatar Charity is little more than a fund raiser for Foreign Terrorist

Organizations designated by the United States (“FTOs”). One newly-minted argument, found

nowhere in the Complaint, even alleges that Qatar Charity is itself a “front” for FTOs. (Opp. Mem.

at 3). This claim, like many others in Plaintiffs’ Opposition, is incredible on its face. Simply

stated, and as documented in detail in its Motion to Dismiss, Qatar Charity has earned high praise

from the United States government and leading international organizations as a reliable partner in

providing humanitarian assistance to some of the world’s neediest communities. (Memorandum

in Support of Qatar Charity’s Motion to Dismiss (“MTD Mem.”) at 2–3). This renders Plaintiffs’

allegations wholly implausible.

       In an attempt to dissuade this Court from taking proper notice of Qatar Charity’s good

works and close collaboration with the United Nations and the United States government—which,

as argued previously, underscores the utter implausibility of their allegations—Plaintiffs assert that

the Charity improperly seeks to have the Court rely on “purported facts.” (Opp. Mem. at 11). This

is not so. All exhibits attached to Qatar Charity’s Motion to Dismiss were either (i) explicitly

incorporated by Plaintiffs themselves into the Complaint or (ii) reliable material in the public
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 11 of 53 PageID #: 1924




domain that was properly submitted for the purpose of judicial notice. (MTD Mem. at 3 n.2).

Importantly, the significance of the statements contained in the documents which Qatar Charity

has submitted to the Court lie largely in the fact that they were made. The fact that high-ranking

U.S. diplomats publicly praise Qatar Charity as “one of the best organizations in the world” (Ex.

171; MTD Mem. at 25), that United States Agency for International Development (“USAID”) and

the U.N. speak with pride of their numerous partnerships with the Charity (e.g., Ex. 1, 2, 5, 6), and

that Bill Gates has traveled to Doha to personally announce his foundation’s partnership with the

Charity (Ex. 27) are significant for purposes of this motion not because they are true (as they

certainly are), but because it is preposterous to imagine that those statements would have been

made if the entities making them—most pertinently, the United States government and State

Department—had information suggesting that Qatar Charity was knowingly assisting fronts for

FTOs (or, as Plaintiffs now claim, was itself such a front). These statements are thus highly

relevant to the calculus that this Court must undertake in assessing the plausibility of the

Complaint’s allegations.

        The documents submitted by Qatar Charity to the Court include the Annual Reports

incorporated into the Complaint by Plaintiffs.                 In its Opposition, Plaintiffs continue to

mischaracterize those reports to the Court, as previously explained in our opening brief. (See MTD

Mem. at 20-23). Plaintiffs also rely heavily on the “confessions of the Director and Staff of the

Qatar Charity Ramallah Branch” in Israeli criminal proceedings. (Complaint ¶ 132; Opp. Mem.

at 39). Plaintiffs allege that those confessions “detail how Qatar Charity and Masraf laundered

USD through the U.S.” (Opp. Mem. at 39). But the confessions and testimony we have been able



1
 References to “Ex.” refer to Qatar Charity’s Memorandum in Support of its Motion to Dismiss. References to
Reply Ex. refer to additional exhibits attached to this brief, the majority of which are incorporated into the
Complaint.


                                                        2
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 12 of 53 PageID #: 1925




to obtain (only in the last few days) do nothing of the kind. As detailed below, the confessions

and trial testimony of Fadi Manassra,2 the Charity’s staff accountant in Ramallah, completely

refute Plaintiffs’ allegations; crucially, that confession and testimony flatly contradicts the central

allegation upon which Plaintiffs seek to base its personal jurisdiction argument, that U.S. dollars

were transferred through a correspondent account in New York.                          To the contrary, in both

Manassra’s confession (handwritten and then signed by him) and trial testimony, summarized in

more detail below, he describes the money flow as follows: funds at the Masraf Al Rayan bank in

Doha, in euros, would be transferred to “Deutsche Bank in Germany” and then “transferred to the

Bank of Palestine in Ramallah to Branch number 1213”; only once received by the Bank of

Palestine would it “convert the bills from Euros to Dollars.” (Reply Ex. 1, Fadi Manassra

Interrogation at 3:85 and 3:87). Thus, the very confessions that Plaintiffs repeatedly urge the Court

to consider as the only non-conclusory allegations in support of personal jurisdiction appear to do

precisely the opposite and indeed make explicit that there is absolutely no basis for jurisdiction

here.

         As to judicial notice, Plaintiffs have failed to take their own counsel. They themselves now

ask the Court to take judicial notice of a complaint filed by their own counsel in another litigation.

(See Opp. Mem. at 8 n.4 (citing ECF No. 67-1)). And, far from simply seeking judicial notice of

this filing—an improbable source of neutral facts—Plaintiffs have proceeded to cite that

complaint, which their own lawyer drafted, throughout their Opposition for the truth of the matters

asserted therein. (See, e.g., Opp. Mem. 8, 10, 11, 14, 17, 25, 64, 67 n.40). Rather than asking the

Court to take notice the existence of that litigation, Plaintiffs have instead taken it upon themselves



2
  Please note that there are a number of alternative translations of Mr. Manassra’s name, as well as other individuals
identified in the Complaint as employees of Qatar Charity: Juda Jamal and Najwan Awda. Any references to those
names are employed as they appear in the translation.


                                                          3
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 13 of 53 PageID #: 1926




to merge the allegations pleaded in that unrelated litigation with those from the instant Complaint.

That is plainly improper. In essence, Plaintiffs argue that the instant Complaint’s allegations are

sufficient to state a claim only when they are considered alongside those made in another litigation.

Attempts to amend a Complaint in this fashion is plainly improper. By way of example, Plaintiffs

cite to a number of “allegations” in support of their argument that the instant Complaint—the one

the Court is considering on this motion—adequately pleads the claims asserted, yet fail to disclose

that these allegations are not pleaded in this Complaint.3

         Plainly, this is not the stuff of judicial notice. A “court may take judicial notice of a

document filed in another court not for the truth of the matters asserted in the other litigation but

rather to establish the fact of such litigation and related filings.” Staehr v. Hartford Fin. Servs.

Grp., Inc., 547 F.3d 406, 425 (2d Cir. 2008) (quoting Global Network Commc’ns, Inc. v. City of

New York, 458 F.3d 150, 157 (2d Cir. 2006)). Here, Plaintiffs seek precisely what is prohibited.

They cannot oppose a motion to dismiss by requesting that the Court take judicial notice of a

pleading in another litigation in an attempt to bootstrap the deficient allegations of the pleadings

before the Court. The Court should, therefore, reject Exhibit 1 of the Declaration of James P.

Bonner, and all subsequent citations to it, for anything beyond establishing that Plaintiffs’ Counsel

filed an action which this Court declined to treat as “related” (a fact which would appear to be

completely irrelevant to this Court’s consideration of the motions before it).


3
  Plaintiffs’ improper citations to factual allegations not pleaded in the Complaint include, but are not limited to:
“Between March 2011 and September 2015, Qatar Charity also transferred at least $150,000 to the Hebron Islamic
Charity Society, a Hamas front.” (Opp. Mem. at 10); “Between 2009 and September 7, 2015…Masraf used its
correspondent bank accounts to move in excess of $3.5 million in USD and Euros between Qatar Charity’s accounts
at Masraf in Doha and the charity’s accounts in the Palestinian Territories. . . . In addition to those funds, between
2011 and 2013, Qatar Charity moved $25 million from Doha to the banned Qatar Charity entity operating in the
Gaza Strip.” (Opp. Mem. at 14); “QNB also contributed directly to Qatar Charity…including a November 2013
contribution of roughly $275,000 and a February 2020 contribution of roughly $550,000.” (Opp. Mem. at 14);
“Qatar Charity’s claimed institutional ignorance of the role of U.S. banks in effectuating USD transfers is not
plausible in light of the criminal confession of Judeh Jamal, which is based upon his admission that he knew Qatar
Charity was passing funds through New York.” (Opp. Mem. at 67 n.40).


                                                          4
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 14 of 53 PageID #: 1927




         Among the allegations in this unrelated action that must be disregarded include the claim

that Defendants “provided funds for the purchase of anonymous Sanabel debit cards used to

provide martyr payments to Hamas and PIJ operatives, like those who perpetrated the attacks.”

(Opp. Mem. at 44). This is an entirely new claim, alleged nowhere in the Complaint, although,

remarkably, Plaintiffs purport to cite to the Complaint in their Opposition in support of this claim.4

This allegation is, moreover, like others that figure in Plaintiffs’ Opposition, based on troubling

misrepresentations of Israeli judicial proceedings, as made clear through the very documents cited

by Plaintiffs and discussed below.

                                                  ARGUMENT

I.       PLAINTIFFS FAIL TO SHOW QATAR CHARITY IS SUBJECT TO PERSONAL
         JURISDICTION IN NEW YORK

         Plaintiffs argue that this Court can exercise jurisdiction over Qatar Charity based both on

Rule 4(k)(2) and on New York’s long arm statute. In support of each argument, Plaintiffs rely

heavily on two allegations: (i) that Qatar Charity has long been, and remains to this day, a member

of the “Union of Good,” a Specially Designated Global Terrorist (“SDGT”) (see Opp. Mem. at 1,

10, 16); and (ii) that the “confessions” of Charity staffers in Israel confirm that Masraf Al Rayan

and the Charity “laundered USD through the U.S.” for the benefit of Hamas. (Opp. Mem. at 13,

39). But just as the Plaintiffs mischaracterized the Charity’s Annual Reports,5 these allegations—

central to their jurisdiction argument—are similarly inaccurate and misleading.

         Plaintiffs assert that (i) the Union of Good is a U.S.-designated SDGT; and (ii) Qatar

Charity is a “member” of the Union. Hence, according to Plaintiffs, this designation tarred the




4
  In addition to the Bonner Declaration, Plaintiffs also cite to paragraphs 79 and 128-134 of the Complaint—none of
which make any reference to Sanabel cards. (Opp. Mem at. 57).
5
  Although Plaintiffs continue to argue that the Annual Reports “reflect that [the Charity] transferred funds to Hamas
and PIJ” (Opp. Mem. at 50), those Reports—which are before the Court—say no such things. (See Ex. 22, 23, 24).


                                                          5
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 15 of 53 PageID #: 1928




Charity with the same brush and placed the bank defendants on notice that the Charity was a bad

actor and that, accordingly, Masraf Al Rayan’s alleged 2011–2015 in-forum conduct (putatively

through a correspondent bank concededly not a co-conspirator) suffices to establish jurisdiction

over all defendants in New York. But, yet again, this argument rests on misleading factual

assertions.

        The Charity does not dispute that the Court can take judicial notice that the U.S. Treasury

Department designated the Union of Good as an SDGT on November 12, 2008—not, as Plaintiffs

falsely claim, an FTO.6 But the Court should also take judicial notice of the fact that in that

designation there is no mention of Qatar Charity, although there is reference to certain specific

entities and individuals as well as reference to “several organizations previously designated” under

an earlier Executive Order.7 The Court should also take notice of the fact that the U.S. government

has never designated Qatar Charity as an SDGT or FTO; to the contrary, it regularly works with

the Charity and has repeatedly praised its good work. (See MTD Mem. at 4–7 and Exhibits cited

therein).

        Significantly, Qatar Charity definitively terminated any association with the Union of

Good 13 years ago, in 2009, within a few months of the U.S. designation. (See Reply Ex. 3, Letter

from Qatar Charity to Essam Youssef, Secretary General of the Union of Good (Apr. 2, 2009)).




6
  Notably, the Union of Good is not an FTO, it is a U.S. designated SDGT, which does not qualify as a terrorist
organization for the purposes of § 2339B of the ATA. See, e.g., Weiss v. Nat’l Westminster Bank PLC, 768 F.3d
202, 209 (2d Cir. 2014) (“OFAC’s SDGT designation is distinct from the State Department’s FTO
designation. While an organization designated as an FTO by the State Department is a terrorist organization for the
purposes of § 2339B, that is not true for organizations designated as SDGT by OFAC.”).
7
  See Reply Ex. 2, Treasury Designates the Union of Good, U.S. Dep’t of the Treasury (Nov. 12, 2008),
https://home.treasury.gov/news/press-releases/hp1267 (press release announcing U.S. Department of the Treasury’s
designation of the Union of Good under Executive Order 13224).


                                                         6
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 16 of 53 PageID #: 1929




Thus, the Charity’s minimal association with the Union8 was terminated years before the inception

of the alleged conspiracy.

        The same can be said as to the confessions of former Qatar Charity employees in Israel.

Plaintiffs allege specifically, but without citation or any detail, that “confessions” obtained from

these former employees support the conclusion that Masraf Al Rayan and the Charity laundered

U.S. dollars through New York for the benefit of the FTOs. (Complaint ¶ 132; Opp. Mem. at 13,

39). Yet again, as with the Annual Reports and the Union of Good allegations, these claims are

fundamentally misleading and not supported by the confessions and testimony we have been able

to obtain. For example, the confession made by Fadi Manassra to the Israeli authorities bears no

relationship to the Plaintiffs’ claim that the confessions of the staff supported its allegation that

U.S. dollars transited through New York.                Manassra was the Charity’s staff accountant in

Ramallah, responsible for (among other things) interacting with banks and “monitoring money

transfers” (Reply Ex. 4, Sept. 1, 2017 Trial Testimony at 5:11) and “recording the movements of

incoming and outgoing funds.” (Reply Ex. 1 at 2:30). When interrogated by Israeli authorities in

2015, this is what Manassra said about money transfer (based on a certified translation):

        The funds are at the Al-Riyyan Bank in Doha it is transferred to Deutsche Bank in
        Germany. From there it is transferred to the Bank of Palestine in Ramallah to
        Branch Number 1213. At the bank branch in Ramallah, we convert the bills from
        Euros to Dollars and this action is only done at the Bank of Palestine. This is the
        Qatar Organization’s policy for all branches around the world.
        (Reply Ex. 1 at 3:85–89). At his subsequent trial testimony—where he testified as

“Prosecution Witness Number 3,” called by the Israeli prosecutors as a cooperative witness—

Manassra confirmed that the money flowed from Doha through Deutsche Bank “in Germany” and




8
  In reality, Qatar Charity never provided any funds to the Union of Good, never co-sponsored any events or
programs, and never attended any Union events. Therefore, this lynchpin of Plaintiffs’ jurisdiction argument is
fatally flawed.


                                                         7
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 17 of 53 PageID #: 1930




thence to the Bank of Palestine. The prosecutor then asked, “This money, how is it transferred?

In what currency?” to which Manassra replied, “Euros.” (Reply Ex. 4 at 5:28–29).

         The Plaintiffs’ representation to this Court that the referenced “confessions” “confirm that

Masraf used its correspondent accounts to pass USD through New York for the benefit of Qatar

Charity and the FTOs” would thus appear to be a fiction made up out of whole cloth.

         Nor do the “confessions” of Qatar Charity’s former employees make any mention of

Hamas, as Plaintiffs suggest. The Israeli judicial proceedings referenced by Plaintiffs reflect guilty

pleas to working for an organization deemed illegal by Israeli authorities.9 They do not represent

convictions for providing financial support to Hamas or PIJ. In this respect, Qatar Charity was

one of more than 411 entities so designated by Israel since 1967. 10 Furthermore, it is also not

unusual, and reputable human rights organizations have confirmed that it is the case here, that

Israeli authorities are well aware of, and often permit, continued operations of a “designated”

entity.11

         Indeed, the confessions also rebut Plaintiffs’ allegations that Qatar Charity was nothing

more than the fundraising arm of murderous terrorist organizations. As Manassra testified, as a




9
   Reply Ex. 5, Case (Military Court of the West Bank) 6014/15 Military Public Prosecution v. Najwan Mohammed
Iman Hassan Awda (Feb. 8, 2017) (Isr.) at 2 (“Defendant was convicted based upon her confession, with[in] the
framework of the guilty plea agreement, that she was a member of the Qatar Charity organization, an illegal
organization.”); Reply Ex. 6, Case (Military Court of Appeals) 3189/15, Juda Dib Ibrahim Jamal and Fadi Bahjat
Abd el-Fateh Manassra v. Military Advocate General’s Office, (Dec. 30, 2015) (Isr.) at 1 (“The Qatar Association is
an illegal association…[Juda Jamal and Fadi Manassra]…were indicted for membership in an illegal association,
holding office in an illegal association, performing a service for an illegal association and bringing in enemy money.”);
Reply Ex. 7, Case (Military Court of Appeals) 2731/15 Najwan Mohammed Iman Hassan Awda v. Military
Prosecution, (Oct. 13, 2015) (Isr.) at 1 (“An indictment was filed against the appellant, which includes membership
and activity in an illegal association, holding an office in an illegal associating, and bringing enemy funds into the
area.”).
10
   Reply Ex. 8, Human Rights Watch, Born Without Civil Rights, HRW (Dec. 17, 2019) at 4, (“Since 1967, the
Israeli Defense Ministry has banned more than 411 organizations, among them all major Palestinian political
parties.”)
11
   Id. at 38 (Despite the designation, Israel allowed Qatar Charity to deliver funding into Gaza in May 2019); see
also MTD at 4 n. 5 (discussing Qatar Charity’s partnership with the U.N. to deliver supplies which “until recently
have been prevented from entering by Israeli authorities.”).


                                                           8
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 18 of 53 PageID #: 1931




prosecution witness, the Charity “is only a social association that helps society’s weaker

populations, among them orphans, the poor, and people with special needs.” (Reply Ex. 4 at 5:2–

3). Its “purposes are humanitarian only. Aid to all people regardless of religion or race.” (Reply

Ex. 4 at 5:41). As to the Sanabel card allegations—which Plaintiffs attempt to back-door into this

case even though the Complaint contains no reference to them—Manassra characterized the

program as a wholly benign effort to help thousands of orphans, describing “the conditions for

registration” as simply that “the child’s father died before age 10” and that proper paperwork (such

as death and birth certificates) were filed. (Reply Ex. 1 at 3:62–63). Similarly at trial, although

the Israel prosecutor elicited testimony regarding these cards, there was no mention of Hamas and

no suggestion that the program had any purpose other than to assist “orphans who live with the

mother.” (Reply Ex. 4 at 7:25). More generally, under questioning by the prosecutor, Manassra

testified—without contradiction or challenge—that “all the money we have transferred to charities

helps orphans and people with special needs.” (Reply Ex. 4 at 7:41).

           In assessing the plausibility of Plaintiffs’ allegations, this Court should weigh the false

conclusions that they seek to draw from the Israeli judicial proceedings against Qatar Charity’s

standing in the world community, including in the United States, where it enjoys a strong

relationship with the U.S. government.12 This court should similarly discount Israel’s 2008

designation of Qatar Charity as an “illegal” organization, upon which Plaintiffs rely heavily. (See,

e.g., Opp. Mem. at 10, 16, 25, 30). The designations cannot bear the weight that Plaintiffs would

put upon it. As an initial matter, it is by no means clear that this designation was widely known.

Manassra himself, who started working for the Charity in February 2010 and was called as a

prosecution witness, testified in 2015 that he was “surprised” to learn that Qatar Charity had been



12
     See, e.g., MTD Mem. at 24-25.


                                                    9
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 19 of 53 PageID #: 1932




deemed an illegal association by Israel, in part because in the past the Charity was able to obtain

“approval from the Israeli authorities” for certain of its activities in the West Bank. (Reply Ex. 4

at 7:56). Indeed, the very court proceedings upon which Plaintiffs rely include filings making

clear that Qatar Charity operated in a completely open and above-board manner and that “the

Israeli authorities [were] aware of [the Charity’s] activities,” including by dint of “correspondence

with the Israeli Tax Authorities [and] the Israeli Ministry of the Economy.” (See Reply Ex. 9,

Notice filed in Juda Jamal et al v. The Military Prosecution at 1). Accordingly, the Charity’s staff

argued that, given the authorities’ knowledge of their activities, the Charity had “returned to being

legal.” Nor does the designation of an entity in Israel as “illegal” determine whether the United

States will designate it as a Foreign Terrorist Organization, which, of course, the United States has

not done in the case of Qatar Charity.13

           In sum, the “confessions” relied on heavily by Plaintiffs and incorporated into the

Complaint do not support Plaintiffs’ claims that Qatar Charity purposefully availed itself of New

York correspondent banks to transfer U.S. dollars to Hamas and PIJ in the Palestinian Territories.

Quite to the contrary, the confession of the staff member with direct responsibility for “monitoring

money transfers” says exactly the opposite—stating in his confession that the money flowed (in

euros not dollars) from Doha to Germany (not New York) to the Bank of Palestine, where it was

“convert[ed] from Euros to Dollars,” something which was “only done at the Bank of Palestine.”

(Reply Ex. 1 at 3:87-88) (emphasis added). By relying on these confessions, it would appear that

Plaintiffs have been hoisted on their own petard.

           Thus, as is the case with the Annual Reports (see MTD Mem. at 20–24, 32–33) and the

Union of Good, on the rare occasions when Plaintiffs allege something other than vague and



13
     See Reply Ex. 10, US Dep’t of State, Foreign Terrorist Organizations (Listing Designated FTOs).


                                                          10
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 20 of 53 PageID #: 1933




conclusory claims devoid of factual specificity, their assertions rest largely, and demonstrably, on

misrepresentations and mischaracterizations. With that background, we turn to Plaintiffs’ Rule

4(k)(2) and long-arm statute arguments.

        A.      Qatar Charity is Not Subject to Personal Jurisdiction Under Rule 4(k)(2)

        Contrary to Plaintiffs’ assertion (Opp. Mem. at 57–75), Federal Rule of Civil Procedure

4(k)(2) is not a basis for establishing personal jurisdiction over Qatar Charity. Rule 4(k)(2)

“provides for jurisdiction where: (a) plaintiffs assert federal claims; (b) ‘the defendant is not

subject to jurisdiction in any state’s courts of general jurisdiction;’ and (c) ‘exercising jurisdiction

is consistent with the United States Constitution and laws.’” (Opp. Mem. at 57 (quoting Fed. R.

Civ. P. 4(k)(2)); see also MTD Mem. at 18 n.10). The Complaint forecloses satisfaction of the

second element, because far from pleading that Qatar Charity “is not subject to jurisdiction in any

state’s courts of general jurisdiction,” Plaintiffs have pled precisely the opposite—alleging that

Qatar Charity is subject to personal jurisdiction in New York. (Complaint ¶¶ 12–13). Having

reviewed the Charity’s moving brief, Plaintiffs now attempt to take the opposite tack, claiming

that “the defendant[s] [are] not subject to jurisdiction in any state’s court of general jurisdiction.”

(Opp. Mem. at 57). This transparent reversal of course comes with no explanation. Plaintiffs also

fail to satisfy the third element of Rule 4(k)(2), requiring consistency with the United States

Constitution and laws, because they “have not demonstrated that [Qatar Charity] has meaningful

contacts with New York, and Plaintiffs make no specific allegations of contacts with other states

or the United States generally” (as they cannot do because there are none). DISH Network, LLC.

v. Kaczmarek, 2021 WL 4483470, at *8 (E.D.N.Y. June 24, 2021), report and recommendation

adopted in relevant part, 2021 WL 4485870 (E.D.N.Y. Sept. 30, 2021). Qatar Charity is therefore

not subject to personal jurisdiction under Rule 4(k)(2). We address these points in turn below.

                i.      Rule 4(k)(2) is Inapplicable Because Plaintiffs Failed to Certify that


                                                  11
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 21 of 53 PageID #: 1934




                       Qatar Charity is Not Subject to Personal Jurisdiction in Any State’s
                       Courts of General Jurisdiction

       Plaintiffs fail to satisfy Rule 4(k)(2)’s second element as a matter of law. Despite their

argument to the contrary (Opp. Mem. at 58), Plaintiffs have the burden of pleading each element

of personal jurisdiction. See Spetner v. Palestine Inv. Bank, 495 F. Supp. 3d 96, 109 (E.D.N.Y.

2020) (plaintiffs “must include an averment of facts that, if credited by the ultimate trier of fact,

would suffice to establish jurisdiction over the defendant”) (quoting In re Terrorist Attacks on

September 11, 2001, 714 F.3d 659, 673 (2d Cir. 2013)). By its very terms, Rule 4(k)(2) requires

that “the defendant is not subject to jurisdiction in any state’s courts of general jurisdiction.” Fed.

R. Civ. P. 4(k)(2)(A). Here, Plaintiffs plead the opposite—alleging Qatar Charity is subject to

personal jurisdiction in New York. (Complaint ⁋ 12; Opp. Mem. at 58 n.30).

       Plaintiffs cite out-of-circuit case law for the proposition that Qatar Charity must “identify

[another] state where Plaintiffs can assert their claims.” (Opp. Mem. at 58). Those cases are

plainly inapposite because—in the Second Circuit—“plaintiffs bear [the] burden of certifying that

to their knowledge, the defendant is not subject to suit in the courts of general jurisdiction of any

state.” In re SSA Bonds Antitrust Litig., 420 F. Supp. 3d 219, 240 (S.D.N.Y. 2019) (citation and

quotation marks omitted); Astor Chocolate Corp. v. Elite Gold Ltd., 510 F. Supp. 3d 108, 134

(S.D.N.Y. 2020) (“In this Circuit, to meet the second requirement of Rule 4(k)(2), plaintiffs need

to certify that, to their knowledge, the foreign defendant is not subject to jurisdiction in any other

state.”) (citation omitted) (emphasis added); Aqua Shield, Inc. v. Inter Pool Cover Team, 2007 WL

4326793, at *8 (E.D.N.Y. Dec. 7, 2007) (same).

       Here, Plaintiffs failed to make the requisite certification. In fact, they pled precisely the

opposite—alleging that Qatar Charity is subject to personal jurisdiction under New York’s long-

arm statute. (Complaint ¶ 12). Plaintiffs have doubled down on that argument in their Opposition,



                                                  12
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 22 of 53 PageID #: 1935




arguing that New York’s “long-arm statute provides” a “basis for exercising jurisdiction over all

three Defendants.” (Opp. Mem. at 80). Thus, Plaintiffs cannot carry their burden under Rule

4(k)(2). See In re SSA Bonds Antitrust Litig., 420 F. Supp. 3d at 240 (“[b]ecause the Plaintiffs in

the instant case have not certified that the [foreign defendants] are not subject to general

jurisdiction in another state, they have not met all of the elements of Rule 4(k)(2)”) (Ramos, J.).

               ii.     Rule 4(k)(2) is Inapplicable Because Due Process Forbids Exercising
                       Jurisdiction Over Qatar Charity

       Rule 4(k)(2)’s three elements are, moreover, conjunctive, so Plaintiffs’ failure to satisfy

the second element precludes jurisdiction under Rule 4(k)(2). But even though Plaintiffs’ failure

to satisfy Rule 4(k)(2)’s second element is itself dispositive, so too is the failure to satisfy Rule

4(k)(2)’s third element: Qatar Charity lacks the minimum contacts required to satisfy due process.

Plaintiffs neither allege in their Complaint nor argue in their Opposition that Qatar Charity is

subject to personal jurisdiction based on its own contacts in the United States. Plaintiffs argue

instead that “exercising personal jurisdiction over [Qatar Charity] based upon Masraf Al Rayan’s

use of its correspondent bank account under either an agency theory or a conspiracy theory of

personal jurisdiction is consistent with due process.” (Opp. Mem. at 58). Those arguments are

frivolous and should be rejected. Indeed, Plaintiffs have totally conceded that they cannot

plausibly allege that the Charity even knew about any supposed use of a New York correspondent

account (Opp. Mem. at 67–68 (“whether Qatar Charity knew it or not”); cf. Opp. Mem. at 70–71

(“what matters is that Masraf knew that it was using its New York correspondent account”)), much

less that the Charity agreed to or directed such use, which is what would be required to satisfy the

demands of due process. Their argument is, again, absurd.

       Nor, contrary to Plaintiffs’ insinuation, is Rule 4(k)(2) a “catchall” provision extending

personal jurisdiction over a defendant like Qatar Charity that lacks minimum contacts in the



                                                 13
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 23 of 53 PageID #: 1936




plaintiff’s chosen forum. To the contrary, Rule 4(k)(2) merely “provides for what amounts to a

federal long-arm statute in a narrow band of cases in which the United States serves as the relevant

forum for a minimum contacts analysis.” DISH Network, 2021 WL 4483470, at *8 (quoting

Glencore Grain Rotterdam B.V. v. Shivnath Rai Harnarain Co., 284 F.3d 1114, 1126 (9th Cir.

2002)); see also Porina v. Marward Shipping Co., Ltd., 521 F.3d 122, 127 (2d Cir. 2008).

       Congress enacted Rule(4)(k)(2) “with the intention of filling a gap in the enforcement of

federal law” by authorizing “federal jurisdiction over a foreign defendant who has ‘contacts with

the United States sufficient to justify the application of United States law and to satisfy federal

standards of forum selection,’ but who otherwise has insufficient contact with the state in which

the federal court sits to support that court’s jurisdiction.” Cordice v. LIAT Airlines, 2015 WL

5579868, at *5 (E.D.N.Y. Sept. 22, 2015) (quoting Porina v. Marward Shipping Co., Ltd., 521

F.3d 122, 126 (2d Cir. 2008)). “The Rule 4(k)(2) jurisdictional analysis mirrors that of the standard

personal jurisdiction analysis, except in one critical respect: The due process analysis for Rule

4(k)(2) jurisdiction hinges on whether the non-resident has sufficient minimum contacts with the

United States as a whole instead of with the specific forum state.” George Moundreas & Co SA

v. Jinhai Intelligent Mfg. Co Ltd, 2021 WL 168930, at *11 (S.D.N.Y. Jan. 18, 2021) (citing Porina

v. Marward Shipping Co., 521 F.3d 122, 127 (2d Cir. 2008)).

       These clear principles are obviously fatal to Plaintiffs’ Rule 4(k)(2) argument, as Qatar

Charity has neither contacts with New York in particular nor the United States as a whole. In fact,

Plaintiffs do not even attempt the (futile) task of alleging sufficient contacts with the “United States

as a whole.” To the contrary, the only contacts alleged (as to any defendant) are chimerical

“contacts” with the “specific forum state” (New York) which are not, in fact, contacts that any

defendant itself had with the state. To the contrary, Plaintiffs seek to base jurisdiction here on the




                                                  14
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 24 of 53 PageID #: 1937




contacts of an unnamed correspondent bank which is not a defendant before the Court (“a bank in

New York” (Complaint at 132))—an entity of which Qatar Charity is not alleged to have had

knowledge (see Opp. Mem. at 67–68; 70–71). How can jurisdiction based on such frail allegations

possibly be reasonable?

       Due process requires such reasonableness; Rule 4(k)(2) “requires (1) that the defendant

have sufficient minimum contacts with the United States in general, rather than any particular state

and (2) that the exercise of jurisdiction is reasonable.” In re SSA Bonds Antitrust Litig., 420 F.

Supp. 3d at 240 (quoting Porina., 521 F.3d at 127). Here, Qatar Charity has not undertaken “some

act by which [it] purposefully avail[ed] itself of the privilege of conducting activities within the

forum State.” Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1024 (2021)

(quotation marks and citation omitted), nor has it itself created “contacts…with the forum State,”

Walden v. Fiore, 571 U.S. 277, 284 (2014) (emphasis in original) rather than those arising from

the “unilateral activity of another party or a third person,” Helicopteros Nacionales de Colombia,

S.A. v. Hall, 466 U.S. 408, 417 (1984). As to Qatar Charity, the Plaintiffs have effectively

conceded that they cannot carry this burden. (E.g., Opp. Mem. at 67–68, 70–71). Indeed, a weaker

case in this regard is hard to even imagine.




                                                15
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 25 of 53 PageID #: 1938




                      1.      Masraf Al Rayan’s Alleged Contacts in New York are
                              Insufficient to Confer Jurisdiction Under Rule 4(k)(2)

       For the reasons articulated by Defendant Masraf Al Rayan in its opening brief in support

of its motion to dismiss (ECF Nos. 55-1), Masraf Al Rayan’s contacts in New York are insufficient

to confer personal jurisdiction over it. In sum, Masraf Al Rayan has no physical presence in the

United States and allegations concerning its correspondent account at an unnamed New York bank

cannot survive due process scrutiny. Hence, the foundational premise of the argument as against

Qatar Charity crumbles.

                      2.      Qatar Charity is Not Subject to 4(k)(2) Jurisdiction Under an
                              Agency Theory

       Plaintiffs’ argument that Qatar Charity is subject to personal jurisdiction under an agency

theory (Opp. Mem. at 66–71) also fails, because the Complaint lacks factual allegations that either

Masraf Al Rayan or its third-party correspondent bank acted in an agency capacity for Qatar

Charity. There may be jurisdiction over a principal “based on the acts of an agent where ‘the

alleged agent acted in New York for the benefit of, with the knowledge and consent of, and under

some control by, the nonresident principal,’” but that is certainly not the case here. See Charles

Schwab Corp. v. Bank of Am. Corp., 883 F.3d 68, 85 (2d Cir. 2018) (Schwab I) (quoting Grove

Press, Inc. v. Angleton, 649 F.2d 121, 122 (2d Cir. 1981)); see also (Opp. Mem. at 66 (citing

Kreutter v. McFadden Oil Corp., 71 N.Y.2d 460, 467 (1988)).

       To plead agency for jurisdictional purposes, the plaintiff “must allege the actual exercise

of control, based on the ‘realities of the relationship.’” Hau Yin To v. HSBC Holdings, PLC, 700

F. App’x 66, 68 (2d Cir. 2017) (quoting CutCo Industries, Inc. v. Naughton, 806 F.2d 361, 366

(2d Cir. 1986)). Plaintiffs do not plausibly allege that Qatar Charity had any knowledge or control

over Masraf Al Rayan’s alleged use of a correspondent account in New York; indeed, quite to the

contrary, Plaintiffs actually concede that they cannot plausibly allege even mere knowledge of


                                                16
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 26 of 53 PageID #: 1939




the potential use of a correspondent account (see Opp. Mem. at 67–68; 70–71), much less the

requisite direction and control. (See Complaint ¶ 7; cf. Opp. Mem. at 67–68 (“Qatar Charity

instructed its agent Masraf to make certain USD transfers that—whether Qatar Charity knew it or

not—could only be effectuated through a U.S. correspondent bank.”); Opp. Mem. at 70–71

(“[W]hat matters is that Masraf knew that it was using its New York correspondent account”)).14

         Plaintiffs allege that Masraf Al Rayan transferred funds from Qatar Charity’s account in

Qatar to its account in the Palestinian Territories and that, in transit, the funds passed through New

York. (Complaint ¶¶ 7, 132–33). Again, and crucially, Plaintiffs do not plausibly allege that Qatar

Charity knew its funds would pass through New York. Instead, Plaintiffs allege that “Masraf Al

Rayan” transferred Qatar Charity “funds denominated in U.S. dollars through a correspondent

bank in New York,” conclusorily and inaccurately asserting in their Opposition that such transfers

“must have” gone through New York. But, the confession of Fadi Manassri, upon which Plaintiffs

rely, makes explicit that, to the contrary, funds were routinely converted into U.S. dollars in

Ramallah—“and this action is only done at the Bank of Palestine” in Ramallah. (Reply Ex. 1 at

3:87-88).




14
   Plaintiffs are also wrong that the alleged transfers “could only be effectuated through a U.S. correspondent bank.”
(Opp. Mem. at 67–68). As in Tamam v. Fransabank, “[u]nderlying Plaintiffs’ argument is the faulty assumption that
U.S. dollars can only be obtained in the United States,” when, in fact, financial institutions can obtain U.S. dollars
abroad from numerous, foreign correspondent banks. 677 F. Supp. 2d 720, 729 (S.D.N.Y. 2010). Plaintiffs try to
evade that fact by attaching the declaration of Patrick J. McArdle (“McArdle Decl.”). (See ECF No. 69). But Mr.
McArdle concedes he lacks any personal knowledge of the transfers alleged here. He relies instead on personal
experience and three complaints filed by Plaintiffs’ counsel in this and two unrelated cases, without even specifying
which of his opinions are derived from the pleadings in this case. (See, e.g., McArdle Decl. ¶¶ 1, 15). The Court
should afford no weight to Mr. McArdle’s declaration, which merely recounts how foreign banks “ordinarily” handle
U.S. dollar transactions (McArdle Decl. ¶ 14) and parrots the Complaint’s conclusory allegations (see, e.g., McArdle
Decl. ¶ 18 (“With Masraf Al Rayan Bank initiating the U.S. dollar-denominated transfers for Qatar Charity as
discussed in the Complaints, these funds were almost certainly settled and cleared in the U.S. (New York) by U.S.
banks on behalf of Masraf Al Rayan Bank.”); McArdle Decl. ¶ 16 (“The Complaints’ description of these interbank
transactions is consistent with the manner in which a transaction involving U.S. dollars would typically operate.”)).
See Reply Ex. 1 at 3:88 (conversion to U.S. dollars “is only done at the Bank of Palestine”).



                                                         17
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 27 of 53 PageID #: 1940




       As numerous cases make crystal clear, those paltry allegations fail to establish that Masraf

Al Rayan was Qatar Charity’s agent for jurisdictional purposes. See Spetner, 495 F. Supp. 3d at

112 (defendant “may have expected, or even known for a fact, that [Arab Jordan Investment Bank]

would need to settle the wire transfers in New York; but knowing and expecting are not the same

as directing and controlling”); Berdeaux v. OneCoin Ltd., 2021 WL 4267693, at *12 n.25

(S.D.N.Y. Sept. 20, 2021) (“The nature of correspondent banking renders largely nonsensical any

attempt to base jurisdiction against the individual Defendants on wire transfers of funds moving

through a New York correspondent account” because “[a]bsent unusual circumstances, an

individual bank customer would have no reason to direct its foreign bank to use a New York-based

correspondent account for a transaction that, such as those at issue here, has no other connection

to New York.”); Vasquez v. Hong Kong and Shanghai Banking Corp., Ltd., 477 F. Supp. 3d 241,

259 (S.D.N.Y. 2020) (“there is no evidence that [defendant] directed the funds to be deposited or

controlled the route of the plaintiffs’ funds through the correspondent account”).

       Plaintiffs also devote a considerable portion of their Opposition to manufacturing an

unalleged theory that Masraf Al Rayan’s “U.S. correspondent bank,” which Plaintiffs

conspicuously fail to identify, is somehow Qatar Charity’s “sub-agent” for jurisdictional purposes.

(Opp. Mem. at 66–71). That argument is unavailing because merely alleging that Masraf Al Rayan

was Qatar Charity’s agent, does not make it so. Pincione v. D’Alfonso, 506 F. App’x 22, 24 (2d

Cir. 2012) (“allegations concerning [non-party’s] agency were entirely conclusory and thus

inadequate”). Instead, because Plaintiffs must plausibly allege, as they cannot, the consent,

knowledge, and control required to establish an agency relationship, it is self-evident that any

correspondent bank chosen by Masraf Al Rayan could not have been Qatar Charity’s “sub-agent.”

Furthermore, even if Masraf Al Rayan was Qatar Charity’s agent—which it plainly was not, even




                                                18
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 28 of 53 PageID #: 1941




accepting as true the allegations in the Complaint—Plaintiffs’ chain of agency theory breaks

irreparably at the purported link between Masraf Al Rayan and its unnamed correspondent bank,

because it is well-recognized that “an intermediary bank is the legal agent of neither the originator

nor the intended beneficiary.” Exp.-Imp. Bank of U.S. v. Asia Pulp & Paper Co., 609 F.3d 111,

121 (2d Cir. 2010) (quoting N.Y. U.C.C. § 4–A–212); see also Spetner, 495 F. Supp. 3d at 110

(quoting Aaron Ferer & Sons Ltd. v. Chase Manhattan Bank, Nat. Ass’n, 731 F.2d 112, 122 (2d

Cir. 1984)) (“[a] correspondent bank relationship, standing alone, does not create an agency

relationship”); Spetner, 495 F. Supp. 3d at 111 (“That critical element of control is not present in

the garden-variety correspondent banking relationship alleged here.”). Plaintiffs would have the

Court ignore this black letter law. That it cannot do.

       In short, Qatar Charity has neither an agent nor a sub-agent in New York. Among other

deficiencies, Plaintiffs’ averments to the contrary are an impermissible effort to amend their

deficient Complaint. See In re Bemis Co. Sec. Litig., 512 F. Supp. 3d 518, 541 (S.D.N.Y. 2021)

(quoting Wright v. Ernst & Young LLP, 152 F.3d 169, 178 (2d Cir. 1998)) (“plaintiff cannot

‘amend’ its pleading through its opposition papers”). And their conceded inability to allege that

Qatar Charity had knowledge about any correspondent banking relationship, much less direction

or control, is obviously fatal here.

                       3.      Qatar Charity is Not Subject to 4(k)(2) Jurisdiction Under a
                               Conspiracy Theory

       Plaintiffs cannot establish Rule 4(k)(2) conspiracy jurisdiction based on the in-forum acts

of Masraf Al Rayan’s unnamed correspondent bank, which Plaintiffs acknowledge is not an

alleged co-conspirator. (See Opp. Mem. at 80 (“Masraf’s [New York correspondent bank] did not

participate in Defendants’ conspiracy”)). Plaintiffs’ conspiracy theory is distinct from the agency

theory discussed above, but equally deficient. Under the putative conspiracy theory of jurisdiction,



                                                 19
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 29 of 53 PageID #: 1942




“a defendant purposefully avails itself of the laws of a forum when it or its co-conspirator

undertakes an overt act in furtherance of the conspiracy in the forum.” Schwab Short-Term Bond

Mkt. Fund v. Lloyds Banking Grp. PLC, 22 F.4th 103, 109–10 (2d Cir. 2021) (Schwab II); see also

Schwab I, 883 F.3d at 87. Many courts have opined that this is a dubious theory at best, in plain

tension with pertinent Supreme Court precedent. See, e.g., Rudersdal v. Harris, 2022 WL 263568,

at *10 (S.D.N.Y. Jan. 28, 2022); In re Platinum & Palladium Antitrust Litig., 449 F. Supp. 3d 290,

326 (S.D.N.Y. 2020). But Plaintiffs would have this Court launch this suspect theory into

uncharted waters, predicating the theory here not on the in-forum acts of a co-conspirator (none of

which are alleged) but on the in-forum acts of an entity concededly not alleged to be a co-

conspirator (the supposed correspondent bank). This is a brazen bridge too far (even for Plaintiffs’

counsel). We know of no cases applying Schwab I’s conspiracy standard that support such a

radical expansion of personal jurisdiction, and the Court should reject the baseless request to be

the first. To state what is obvious from the Opposition Brief: Plaintiffs do not argue that any

alleged conspirator acted in the forum in furtherance of the conspiracy. They argue only that

“Masraf’s New York correspondent banking transactions suffice to establish personal jurisdiction

over all Defendants.” (Opp. Mem. at 4). Plaintiffs’ allegations are therefore insufficient to

establish conspiracy jurisdiction over Qatar Charity.

        The absence of in-forum acts undertaken by an alleged co-conspirator places the present

case in stark contrast with the cases that Plaintiffs claim, wrongly, are analogous. (Opp. Mem. at

71–73) (citing, e.g., Berkshire Bank v. Lloyds Banking Grp. plc, 2022 WL 569819, at *3 (2d Cir.

Feb. 25, 2022) (summary order)15 (the “pleadings and other supporting evidence are replete with

similar alleged communications and actions that appear to involve purported conspiracy


15
  The summary order in Berkshire Bank does not bind this Court as it has “no precedential effect.” Second Circuit
Local Rule 32.1.1(a).


                                                       20
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 30 of 53 PageID #: 1943




participants located in New York who took steps there to advance the conspiracy”); Schwab II, 22

F.4th at 125 (“The alleged conspiracy involved the manipulation of U.S.-Dollar LIBOR with co-

conspirators who were based in the United States.”); In re Platinum & Palladium Antitrust Litig.,

449 F. Supp. 3d at 325-326 (“Thus, the TAC plausibly alleges that United-States-based co-

conspirators acted in furtherance of the conspiracy to manipulate the Fix, and the Court has

personal jurisdiction over” the foreign defendants.); Allianz Glob. Inv’rs GMBH v. Bank of Am.

Corp., 457 F. Supp. 3d 401, 412 (S.D.N.Y. 2020) (“The Complaint’s allegations are sufficient to

find conspiracy jurisdiction over [the foreign defendant] because they support the inference that

[the foreign defendant’s] traders knew that their coconspirators were based in, and acting out of,

New York.”); SL-X IP S.Á.R.L. v. Bank of Am. Corp., 2021 WL4523711, *6 (S.D.N.Y. Sep. 30,

2021) (conspiracy jurisdiction established where the complaint “alleges that the Defendants

conspired in part through their board positions and identifies which of the Broker Defendants’

employees served on the board of EquiLend Holdings LLC (the U.S.-based entity)”)).

       Those cases bear no relationship whatsoever even to the conclusory allegations advanced

by Plaintiffs. There are no putative “United-States-based co-conspirators” alleged here. As to

Qatar Charity, the allegations are, remarkably enough, nothing more than the following:

           •   Qatar Charity, a Qatar entity with no alleged contacts of any kind with the United
               States, attempted to send funds from its own accounts in Doha to other of its own
               accounts in the Palestinian Territories, taking no action in the United States or
               directed towards the United States;

           •   The Qatari bank it used for this transfer, also with no physical presence of any kind
               in the United States, allegedly effectuated that Qatar-to-Palestine transfer through
               the United States, utilizing a New York correspondent bank;

           •   The routing decision to utilize a New York correspondent was not necessary; Qatar
               Charity is not alleged to have had knowledge of this decision, and hence is
               obviously not alleged to have exercised any control; and

           •   The putative correspondent bank is not alleged to be a co-conspirator and is not an
               agent as a matter of law (and certainly not an agent of Qatar Charity itself, which


                                                21
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 31 of 53 PageID #: 1944




                  concededly is not alleged to have had any knowledge of the existence of the
                  supposed correspondent bank and not alleged to have exercised any control or
                  direction).

To recite those factual allegations is to refute utterly the conspiracy jurisdiction allegations.16

        Notably, numerous courts have questioned the constitutionality of conspiracy jurisdiction,

even where the predicate is in-forum conduct by an actual co-conspirator. See, e.g., Rudersdal,

2022 WL 263568, at *10–11 (“some district courts (including this one) and scholars may have

qualms about the ability of a conspiracy theory of jurisdiction to satisfy due process”); In re

Platinum & Palladium Antitrust Litig., 449 F. Supp. 3d at 326 (quoting Walden v. Fiore , 571 U.S.

277, 284 (2014)) (the conspiracy jurisdiction “standard may be in tension with the Supreme

Court’s holding in Walden v. Fiore that ‘the relationship between the defendant and the litigation

must arise out of the contacts that the ‘defendant himself’ creates with the forum State”); In re

Dental Supplies Antitrust Litig., 2017 WL 4217115, at *7 (E.D.N.Y. Sept. 20, 2017) (BMC)

(“[T]here is no doctrinal support for ‘conspiracy jurisdiction.’ Either jurisdiction is appropriate

under existing jurisdictional principles or it is not, and a due process inquiry is always required.”)

(quotation marks and citation omitted).

        Asserting personal jurisdiction over Qatar Charity would also violate Schwab II’s

instruction that a “conspiracy theory [cannot] get off the ground if [the] defendant were altogether

blindsided by its co-conspirator’s contacts with the forum.” 22 F.4th at 125. Courts considering

the relationship between foreign and domestic banks “have discounted the use of a correspondent

account that is essentially adventitious—i.e., that was not even defendant’s doing—as not

reflecting a deliberate act.” Vasquez v. Hong Kong & Shanghai Banking Corp., Ltd., 477 F. Supp.



16
  And that is without even referencing the confession of Fadi Manassra, expressly incorporated into the Complaint,
which states clearly that transfers from Doha transited through Germany in Euros and were only converted to dollars
in Ramallah. (Reply Ex. 1 at 3:85-88).


                                                        22
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 32 of 53 PageID #: 1945




3d 241, 258 (S.D.N.Y. 2020) (collecting cases) (quotation marks and citation omitted). Here,

Qatar Charity, a banking customer, is even further removed than its banks from any purposeful

availment of the forum. Plaintiffs do not plausibly allege that Qatar Charity knew that Masraf Al

Rayan had a correspondent account in the United States. Nor do they plausibly allege that Qatar

Charity knew that transfers between its accounts in Qatar and the Palestinian Territories might

pass through the United States. The alleged “conspiratorial contacts” are therefore not “the sort

that [Qatar Charity] ‘should reasonably anticipate being haled into court’ in the forum as a result

of them.” Schwab II, 22 F.4th at 125 (quoting World-Wide Volkswagen Corp. v. Woodson, 444

U.S. 286, 297 (1980)).

                       4.      The Due Process Reasonableness Factors Counsel Against
                               Imposing Jurisdiction

       Even in a case, decidedly unlike this one, where there are adequate allegations that “a

defendant has purposefully directed its activities at the forum state, it may still defeat jurisdiction

on due process grounds.” Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d 161, 173

(2d Cir. 2013). Here, the reasonableness factors counsel against exercising jurisdiction because

none of the Defendants has any presence in the United States and all of their alleged activity took

place abroad. This is especially so in the case of Qatar Charity.

       The reasonableness inquiry primarily concerns “the burden on the defendant.” In re

Platinum, 449 F. Supp. 3d at 327 (internal quotation marks and citation omitted). It goes without

saying that litigating this case in the Eastern District of New York would impose an enormous

burden on Qatar Charity. Qatar Charity does not have an office in New York (or the United States)

and is not otherwise physically present in the forum. None of Qatar Charity’s relevant records or

knowledgeable witnesses are located in New York. Moreover, the forum lacks any compelling

interest in retaining this litigation because none of the Plaintiffs are New York residents and no



                                                  23
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 33 of 53 PageID #: 1946




alleged injury was suffered here. It would therefore be unreasonable to assert personal jurisdiction

over Qatar Charity in this case.

       Plaintiffs contend the “Defendants’ discussion of the reasonableness factor” failed to

address “Congress’ recent pronouncements regarding the need to subject entities that provide

material assistance to terrorists to jurisdiction in the American courts.” (Opp. Mem. at 73–74).

But of course it is self-evident that Congress lacks authority to deprive ATA defendants of due

process protections. Judge Furman debunked similar arguments in a recent ATA decision,

explaining that “Congress cannot, consistent with the Constitution, simply decree that any conduct,

without regard for its connections to the United States generally or to litigation in the United States

specifically, signals a party’s intent to submit to the jurisdiction of a United States court.” Fuld v.

Palestine Liberation Org., 2022 WL 62088, at *1 (S.D.N.Y. Jan. 6, 2022) (appeal filed). Plaintiffs’

argument to the contrary is meritless.

       B.      Plaintiffs’ “Alternative” Basis For Jurisdiction Fails Because Qatar Charity
               is Not Subject to Jurisdiction Under New York’s Long-Arm Statute

       Qatar Charity is not subject to personal jurisdiction under New York’s long-arm statute,

N.Y. C.P.L.R. Section 302, which “is more restrictive than the Fourteenth Amendment’s Due

Process Clause.” In re Eur. Gov’t Bonds Antitrust Litig., 2022 WL 768680, at *8 (S.D.N.Y. Mar.

14, 2022).

                       1.      CPLR Section 302(a)(1) Does Not Apply

       Qatar Charity is not subject to personal jurisdiction under Section 302(a)(1).             That

provision stipulates that “a court may exercise personal jurisdiction over any non-domiciliary . . .

who in person or through an agent . . . transacts any business within the state.” N.Y. C.P.L.R.

302(a)(1). Here, again, Plaintiffs do not allege that Qatar Charity itself conducted any business in

New York and Plaintiffs’ threadbare allegations regarding a purported unnamed correspondent



                                                  24
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 34 of 53 PageID #: 1947




bank about which the Charity is not adequately alleged to have had any knowledge are insufficient

to establish agency jurisdiction and are, indeed, foreclosed by black letter Second Circuit law. Nor

does Section 302(a)(1) authorize conspiracy jurisdiction. (See MTD Mem. at 14–15).

         Since Plaintiffs do not, and cannot, allege that Qatar Charity itself transacted any business

in New York, they must, to satisfy Section 302(a)(1), allege that Qatar Charity conducted business

in New York through an agent. As discussed above, there can be “jurisdiction over a principal

based on the acts of an agent where ‘the alleged agent acted in New York for the benefit of, with

the knowledge and consent of, and under some control by, the nonresident principal.’” Schwab I,

883 F.3d at 85 (quoting Grove Press, Inc. v. Angleton, 649 F.2d 121, 122 (2d Cir. 1981)).

         As Judge Caproni recognized in Berdeaux, however, there is “no authority . . . standing for

the principle that a non-domiciliary individual defendant may be subject to specific jurisdiction in

New York under Section 302(a)(1) because the non-domiciliary moved money between foreign

bank accounts, with the transfer passing through New York via a correspondent account.”

Berdeaux, 2021 WL 4267693, at *12.17 That is because “[a]bsent unusual circumstances, an

individual bank customer would have no reason to direct its foreign bank to use a New York-based

correspondent account for a transaction that, such as those at issue here, has no other connection

to New York.” Id. at *12 n.25; accord Universal Trading & Inv. Co. v. Tymoshenko, 2012 WL




17
  Plaintiffs badly mischaracterize Berdeaux in a failed attempt to distinguish it. Plaintiffs contend “Berdeaux
involved only a single wire transfer not initiated by any of the defendants.” (Opp. Mem. at 64). In reality, while the
court held that “Plaintiffs allege adequately only a single transaction,” the Berdeaux complaint alleged “the Scott
Group Defendants used shell companies and bank accounts all over the world to launder more than $400 million in
criminal proceeds” and that defendant Bank of New York Mellon “enabled the ‘Scott Group’ to launder more than
$300 million in fraud proceeds by serving as correspondent bank for hundreds of transactions.” Berdeaux, 2021
WL 4267693, at *3, 11 n.21, 16 (emphasis added). Next, Plaintiffs assert Berdeaux is inapposite because the
Berdeaux plaintiffs “disclaimed all bases for personal jurisdiction other than CPLR 302(a)(3)(ii), which Plaintiffs
have not alleged here.” (Opp. Mem. at 64). But the Berdeaux court made clear that it “assess[ed] . . . Defendants’
amenability to jurisdiction under multiple prongs of New York’s long-arm statute,” including Sections 302(a)(1)–
(2), even though “Plaintiffs . . . abandoned all bases for personal jurisdiction other than CPLR 302(a)(3)(ii).”
Berdeaux, 2021 WL 4267693, at *8.


                                                         25
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 35 of 53 PageID #: 1948




6186471, at *3 (S.D.N.Y. Dec. 12, 2012) (“[T]he Court’s research [has not] revealed any cases in

which a foreign individual holding foreign accounts has been found to be subject to jurisdiction in

New York because their bank moved money through New York via a correspondent account.”).

       In Berdeaux, the plaintiff alleged “hundreds of transactions” that purportedly flowed

through New York accounts, including one $30 million transaction as to which the defendant e-

mailed himself a copy of the wire instructions—thus making explicit his knowledge that the funds

would be processed through New York. Berdeaux, 2021 WL 4267693, at *3–4. That knowledge

was deemed insufficient. “None of that is anywhere close to sufficient to show that [the defendant]

transacted business in New York.” Id. at *11; cf. id. at *12 (these allegations are “insufficient as

a matter of law”).

       Here, Plaintiffs allege that Masraf Al Rayan transferred funds from Qatar Charity’s account

in Qatar to its account in the Palestinian territories, and that the funds passed through New York

on the way. (Complaint ¶ 7, 132–33). Again, and crucially, Plaintiffs do not plausibly allege that

Qatar Charity knew its funds passed through New York on the way from Qatar to the Palestinian

territories. (See, e.g., Opp. Mem. at 67–68 (“Qatar Charity instructed its agent Masraf to make

certain USD transfers that—whether Qatar Charity knew it or not—could only be effectuated

through a U.S. correspondent bank.”) (emphasis added); Opp. Mem. at 70–71 (“what matters is

that Masraf knew that it was using its New York correspondent account”)). Plaintiffs merely allege

that “Masraf Al Rayan” transferred Qatar Charity “funds denominated in U.S. dollars through a

correspondent bank in New York.” (Complaint ¶ 7). But, as set forth in detail above, one of the

confessions relied on by Plaintiffs, that of the staff accountant responsible for bank transfers,

discusses not dollar-denominated transfers that cleared in the United States, but rather euro-




                                                26
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 36 of 53 PageID #: 1949




denominated transfers that cleared through a German bank and were “only” converted to dollars

at the Bank of Palestine in Ramallah. (Reply Ex. 1 at 3:85-88).

       Nonetheless, as multiple courts in this Circuit have held, putting aside the irreconcilable

factual conflict between Plaintiffs’ allegations and the documents upon which they purportedly

rely, these allegations taken at face value are absolutely insufficient to establish an agency

relationship for jurisdictional purposes. See Spetner, 495 F. Supp. 3d at 112 (defendant “may have

expected, or even known for a fact, that [Arab Jordan Investment Bank] would need to settle the

wire transfers in New York; but knowing and expecting are not the same as directing and

controlling”); Berdeaux, 2021 WL 4267693, at *12 n.25 (“Absent unusual circumstances, an

individual bank customer would have no reason to direct its foreign bank to use a New York-based

correspondent account for a transaction that, such as those at issue here, has no other connection

to New York.”); Vasquez, 477 F. Supp. 3d at 259 (“there is no evidence that [defendant] directed

the funds to be deposited or controlled the route of the plaintiffs’ funds through the correspondent

account”). Another nail in the coffin of Plaintiffs’ agency theory is the Second Circuit law cited

above that makes it quite clear that “an intermediary bank is [not] the legal agent” of a bank

customer like Qatar Charity, Asia Pulp and Paper, 609 F.3d at 121. This is hardly surprising,

since the governing caselaw states that a correspondent bank is not even the agent of the customer’s

bank itself (here, Masraf Al Rayan). Spetner, 495 F. Supp. 3d at 110 (citing Aaron Ferer & Sons,

731 F.2d at 122).

       Plaintiffs’ conspiracy theory is similarly unavailing.      The overwhelming weight of

authority holds that Section 302(a)(1) simply does not authorize conspiracy jurisdiction. See, e.g.,

Smartmatic United States Corp. v. Fox Corp., 2022 WL685407, *26 (Sup. Ct. N.Y. Cty. Mar. 18,

2022) (“[t]he conspiracy theory of jurisdiction is not available under section 302(a)(1)”);




                                                27
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 37 of 53 PageID #: 1950




Berdeaux, 2021 WL 4267693, at *10 (court could not “exercise jurisdiction over [defendant] under

Section 302(a)(1) on a conspiracy theory based on the conduct of an alleged co-conspirator”);

Suber v. VVP Servs., LLC, 2021 WL 4429237, at *6 (S.D.N.Y. Sept. 27, 2021) (“the conspiracy

theory of jurisdiction is not available under section 302(a)(1)”); E-Z Bowz, L.L.C. v. Pro. Prod.

Rsch. Co., 2003 WL 22064259, at *9 (S.D.N.Y. Sept. 5, 2003) (same); Levisohn, Lerner, Berger

& Langsam v. Med. Taping Sys., 10 F. Supp. 2d 334, 342 (S.D.N.Y. 1998) (same).

       Plaintiffs argue Qatar Charity’s cited authorities “did not survive Schwab I, Schwab II and

Berkshire Bank, all of which attributed the in-forum acts of co-conspirators to each other.” (Opp.

Mem. at 78). Plaintiffs are wrong. Neither Schwab I, nor Schwab II, nor Berkshire Bank held or

even implied that conspiracy jurisdiction is available under Section 302(a)(1). Not one of those

cases had anything to do with that statutory basis and hence, unsurprisingly, do not stand remotely

for the proposition for which Plaintiffs cite them. See Schwab I, 883 F.3d at 82 (the “statutory

basis for personal jurisdiction [is] California state law”); Schwab II, 22 F.4th at 121 (omitting any

reference to New York’s long-arm statute and noting that “only the third [jurisdictional]

requirement—compliance with due process—is contested here”); Berkshire Bank, 2022 WL

569819, at *3–4 (finding conspiracy jurisdiction applicable under Section 302(a)(2), which

concerns torts physically committed in New York, without referencing Section 302(a)(1), which

concerns business transactions).

       Plaintiffs also cite two outlier opinions for the proposition that “Defendants err when they

suggest that conspiracy principles are inapplicable to jurisdiction under § 302(a)(1).” (Opp. Mem.

at 78). Both cases are unsupported and unpersuasive. In Rich v. Fox News Network LLC, a Report

and Recommendation never ultimately adopted, the Magistrate Judge held that “personal

jurisdiction over [defendant] based on Plaintiffs’ conspiracy to commit IIED claim is proper under




                                                 28
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 38 of 53 PageID #: 1951




Section 302(a)(1).” 2020 WL 6276026, at *6 (S.D.N.Y. Sept. 15, 2020). However, Rich does not

cite any authority to support that proposition and cites Schwab I for the applicable standard. Rich,

2020 WL 6276026, at *6 (citing Schwab I, 883 F.3d at 87). That is erroneous because, as noted

previously and as Judge Karas has explained, Schwab I “determined the personal jurisdiction of a

federal court in California” and “California’s long-arm statute is more capacious than New

York’s.” PharmacyChecker.com, LLC v. Nat’l Ass’n of Boards of Pharmacy, 530 F. Supp. 3d

301, 325 n.9 (S.D.N.Y. 2021).

       Plaintiffs’ only other citation is similarly unavailing. In Freeman, the Court held that

“under this long-arm statute . . . ‘activities of a co-conspirator may… be imputed to an out-of-state

tortfeasor for jurisdictional purposes under an agency rational.’” Freeman v. HSBC Holdings PLC,

413 F. Supp. 3d 67, 79 (E.D.N.Y. 2019) (quoting In re N. Sea Brent Crude Oil Futures Litig., 2017

WL 2535731, at *9 (S.D.N.Y. Jun. 18, 2017)). But Sea Brent, the case quoted by Freeman, does

not even mention Section 302(a)(1), and in fact held that New York’s long-arm statute had no

application to the case. 2017 WL 2535731, at *11 n.12. It is true that other provisions of New

York’s long-arm statute (inapplicable here, as discussed below) encompass conspiracy

jurisdiction. But conspiracy jurisdiction “is not available under section 302(a)(1), which is

applicable to business transactions and not torts.” Smartmatic, 2022 WL685407, *26.

       Hence, for the reasons discussed above, Qatar Charity is not subject to Section 302(a)(1)

jurisdiction under a primary theory, an agency theory, or a conspiracy theory.

                       2.      CPLR Section 302(a)(2) Does Not Apply

       Qatar Charity is also not subject to personal jurisdiction under Section 302(a)(2). That

provision stipulates that “a court may exercise personal jurisdiction over any non-domiciliary . . .

who in person or through an agent . . . commits a tortious act within the state.” N.Y. C.P.L.R.

302(a)(2) (emphasis added). As we pointed out previously (MTD Mem. at 11), Section 302(a)(2)


                                                 29
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 39 of 53 PageID #: 1952




“is read narrowly and requires physical commission of the tortious act in New York.” Clean Coal

Techs. v. Leidos, Inc., 377 F. Supp. 3d 303, 314 (S.D.N.Y. 2019); see also Bank Brussels Lambert

v. Fiddler Gonzalez & Rodriguez, 171 F.3d 779, 790 (2d Cir. 1999). Plaintiffs do not allege that

any tortious conduct occurred in New York and neither Qatar Charity nor any alleged co-

conspirator was ever physically present in the state. Thus, this potential theoretical basis for

jurisdiction has nothing to do with this case. See SK’s Cosm. Boutique Inc. v. J.R. Silverberg

Realty, 2020 WL 3451324, at *4 (S.D.N.Y. Jun. 24, 2020) (no jurisdiction under Section 302(a)(2)

where “the situs of the injury was” out of state). This case is instead analogous to Bluewaters

Communications Holdings, where the plaintiffs alleged that defendants based in Mauritius and the

British Virgin Islands bribed a German national with US dollars. Bluewaters Commc’ns Holdings

v. Ecclestone, 122 A.D.3d 426, 427 (1st Dep’t 2014). Plaintiffs argued that “because the payments

were made in U.S. dollars, they must have gone through New York banks.” Id. at 427. The

Appellate Division held that jurisdiction was lacking because the defendants’ “indirect use of the

New York banking system” did not “constitute the commission of a tort within New York pursuant

to N.Y. C.P.L.R. 302(a)(2).” Id. at 427. So too here, where Plaintiffs merely allege that Qatar

Charity funds passed through New York on the way from one foreign Qatar Charity account to

another. (Complaint ¶ 7).

        Conspiracy jurisdiction under Section 302(a)(2) is similarly unavailing. The Second

Circuit recently clarified that:

        To establish conspiracy-based personal jurisdiction pursuant to New York’s long
        arm statute, a plaintiff must—after making a prima facie showing of a conspiracy—
        plausibly allege that: “(a) the defendant had an awareness of the effects in New
        York of its activity; (b) the activity of the co-conspirators in New York was to the
        benefit of the out-of-state conspirators; and (c) the co-conspirators acting in New
        York acted at the direction or under the control, or at the request of or on behalf
        of the out-of-state defendant.”




                                                30
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 40 of 53 PageID #: 1953




Berkshire Bank, 2022 WL 569819, at *3 (quoting Lawati v. Montague Morgan Slade Ltd., 961

N.Y.S.2d 5, 7 (1st Dep’t 2013)) (emphasis added). As Plaintiffs’ own favorite case makes clear,

the “third element can be established by, for example, a co-conspirator being ‘aware of the torts

being committed by . . . defendants in New York.’” Berkshire Bank, 2022 WL 569819, at *3

(quoting Lawati, 961 N.Y.S.2d at 8) (emphasis added).

       As discussed above, Plaintiffs have conceded that they cannot satisfy this third prong of

Berkshire Bank and that the Court therefore cannot base an exercise of jurisdiction over Qatar

Charity on this basis. The Complaint lacks any allegation that Qatar Charity requested Masraf Al

Rayan to utilize a correspondent bank in New York. The Complaint does not plausibly allege that

Qatar Charity was even aware of Masraf Al Rayan’s correspondent account, and Plaintiffs have

now conceded as much. (See Opp. Mem. at 67–68, 70–71). Plaintiffs merely allege that “Masraf

Al Rayan” transferred Qatar Charity “funds denominated in U.S. dollars through a correspondent

bank in New York.” (Complaint ¶ 7). That is, under governing law, clearly, insufficient to plead

the third prong of conspiracy jurisdiction. See, e.g., Berdeaux, 2021 WL 4267693, at *15 n.28

(citation omitted) (“Plaintiffs’ allegations fall woefully short, as they do not plead facts

demonstrating that [the foreign defendants] had any knowledge of the New York acts of any

alleged co-conspirators.”); Contant v. Bank of Am. Corp., 385 F. Supp. 3d 284, 295 (S.D.N.Y.

2019) (“[t]he Complaint does not specifically allege that [the foreign defendants] engaged in suit-

related conduct aimed at or taking place in New York” or “connect these defendants’ participation

in the conspiracy to New York in some other way—for example, by alleging facts to show that

they were aware of their co-conspirators’ in-forum overt acts”).

       Plaintiffs’ conspiracy theory also fails because, as noted above, the Complaint lacks any

allegations at all of in-forum acts undertaken by a co-conspirator. Plaintiffs argue that the physical




                                                 31
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 41 of 53 PageID #: 1954




presence requirement “is satisfied here even though Masraf’s agent did not participate in

Defendants’ conspiracy because the correspondent bank acted on Masraf’s behalf and pursuant to

its instructions.” (Opp. Mem. at 80). Plaintiffs’ arguments are unavailing because Section

302(a)(2) conspiracy jurisdiction concerns the physical presence in New York of an alleged co-

conspirator. Berkshire Bank, 2022 WL 569819, at *4 (plaintiffs “sufficiently alleged that certain

co-conspirators acted as agents of their co-conspirators in New York”); Lawati, 102 A.D.3d at

428 (conspirator “predominantly existed in New York and committed the torts underpinning the

conspiracy there”). Here, the acts (if any) undertaken in New York by Masraf Al Rayan’s

supposed correspondent bank—which is concededly not a co-conspirator—are insufficient to

establish personal jurisdiction over Qatar Charity. Again, Plaintiffs have hobbled this theory

through their own concessions, including that the supposed (and unnamed) correspondent bank

was not a co-conspirator. (See Opp. Mem. at 80 (“Masraf’s [New York correspondent bank] did

not participate in Defendants’ conspiracy”)).

II.    PLAINTIFFS FAIL TO STATE ANY CLAIM FOR RELIEF

       A.      Counts III and IV Must Be Dismissed As Plaintiffs Fail to Plead a Primary
               Liability Claim

       To survive dismissal, Plaintiffs “must provide the grounds upon which [their] claim rests

through factual allegations sufficient ‘to raise a right to relief above the speculative level.’” Gallop

v. Cheney, 642 F.3d 364, 368 (2d Cir. 2011) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007)). This requires that Plaintiffs put forth well-pleaded allegations that state a plausible

claim for relief, rather than simply “tendering naked assertions devoid of further factual

enhancement.” Ashcroft v. Iqbal, 556 U.S. 662 (2009) (quotation marks and citation omitted).

       In their Opposition, Plaintiffs double-down on their speculative and conclusory allegations

in an attempt to distract from the Complaint’s principal defect: it fails to connect the conduct of



                                                  32
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 42 of 53 PageID #: 1955




any defendant to any FTO aside from the wholly unsupported, implausible allegations of a

terrorist-financing conspiracy. At no point do Plaintiffs allege––because they cannot––that Qatar

Charity itself or any of its employees were involved in the Attacks. Instead, Plaintiffs’ theory of

primary liability rests entirely on the Defendants’ purported provision of financial aid to almost

entirely unnamed charitable organizations alleged to be, without any specificity, “fronts” for

Hamas and PIJ. Aside from wholly implausible inferences about the Charity’s connection to

unnamed entities, there is nothing that plausibly connects Qatar Charity’s conduct to Hamas or

PIJ, much less to the Attacks at issue here.

        Plaintiffs, in opposing the Defendants’ motions to dismiss, now assert for the first time that

Qatar Charity is itself an FTO-affiliated front for Hamas and PIJ. (See Opp. Mem. at 3). A theory

so plainly baseless—that the United States would choose to partner with a terrorist front and praise

it as “one of the best organizations in the world”—is the sort of fantasy that the Second Circuit has

held is insufficient to plead a plausible claim for relief. See, e.g., Gallop v. Cheney, 642 F.3d 364

(2d Cir. 2011) (quoting Denton v. Hernandez, 504 U.S. 25, 32–33 (1992)) (“A court may dismiss

a claim as ‘factually frivolous’ if the sufficiently well-pleaded facts are ‘clearly baseless’—that is,

if they are ‘fanciful,’ ‘fantastic,’ or ‘delusional.’”)).

                i.      Plaintiffs Fail to Plead that Qatar Charity Committed Any Act of
                        International Terrorism

        This Court has more than adequate grounds to reject the characterization of Qatar Charity

as a “front organization”—a “factually frivolous” claim that is “clearly baseless.” In fact, the

Plaintiffs’ core allegations against Qatar Charity—that it is a notorious supporter of terrorism that

has been designated as such by the United States (Complaint ¶¶ 66–85)—are demonstrably false

when the public record available to the Court—including the absence of any U.S. designation—is

considered. And the documents of which Qatar Charity has asked this Court to take judicial notice



                                                    33
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 43 of 53 PageID #: 1956




are plainly susceptible of such notice. Nor are these documents hearsay, as Qatar Charity has not

asked this Court to recognize them for their truth, but rather for the fact that the statements were

made (by, among others, the President of the United States, the Secretary of State and other senior

diplomats, ranking U.N. officials, and Bill Gates; MTD Mem. at 2-7, 21-22) or, in the case of

Qatar Charity’s Annual Reports and the Israeli “confessions” attached of former Qatar Charity

employees, because these documents were explicitly incorporated into the Complaint by Plaintiffs’

counsel (MTD Mem. at 20-24; Complaint ¶ 135). See Chambers v. Time Warner Inc., 282 F.3d

147, 153 (2d Cir. 2002) (“a court may consider documents attached to the complaint as an exhibit

or incorporated in it by reference . . . matters of which judicial notice may be taken, or . . .

documents either in plaintiffs’ possession or of which plaintiffs had knowledge and relied on in

bringing suit.”) (citation omitted).

       Here, the Court has a wealth of material before it from which it may evaluate the

implausibility of Plaintiffs’ allegations—all material cited by the Plaintiffs themselves for the false

proposition that Qatar Charity financed Hamas and the PIJ. Relying on the Charity’s Annual

Reports, for instance, Plaintiffs allege that from 2013 through 2015 Qatar Charity “carried out joint

projects” with “various Hamas and PIJ fronts.” (Complaint ¶ 135). But the reports say nothing of

the sort. They make no mention of Hamas or PIJ. Nor is there any reference in any of the reports

to violence or terrorism. What the Annual Reports instead reflect, as discussed in Qatar Charity’s

moving papers (see MTD Mem. at 20–24), is abundant reference to the Charity’s good works.

       At least one of the “confessions” upon which Plaintiffs rely throughout their Opposition

Brief are similarly replete with evidence of the Charity’s good works. Far from establishing that

Qatar Charity’s former employees were involved in secretive and nefarious schemes to fund

Hamas, at least one confession instead reflect that, consistent with the Annual Reports and the




                                                  34
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 44 of 53 PageID #: 1957




statements of the U.S. government, the Charity focuses on “support[ing] needy families [and]

orphans,” providing “Ramadan holiday meals to needy families,” and “small projects like raising

sheep” (Reply Ex. 1 at 2:58, 2:60, and 2:59; the Charity’s purposes are “humanitarian only,”

including aid “to all people regardless of religion or race” (Reply Ex. 4 at 5:41). The “confessions”

attached hereto make no mention of Hamas or PIJ, no mention of “front organizations,” and no

mention of dollar transfers through New York.

       In the absence of any plausible allegations—that Qatar Charity financed FTOs, any

conclusory claim Qatar Charity itself committed an act of “international terrorism” is absurd. See,

e.g., Stansell v. BGP, Inc., 2011 WL 1296881, *9 (M.D. Fla. Mar. 30, 2011) (corporate defendant’s

payment of funds directly to a U.S.-designated FTO in connection with its oil exploration business

“would not lead an objective observer to conclude Defendants intended to achieve any one of the

results listed in § 2331(1)(B)”). Primary liability claims impose liability only on direct perpetrators

of acts of international terrorism and require a showing that a given defendant’s own actions

“involve[d] violence or endanger[ed] human life” and were intended to intimidate or coerce or the

requisite state of mind. Linde, 882 F.3d at 326, 332.

               ii.     Plaintiffs Fail to Plausibly Allege That Qatar Charity Proximately
                       Caused the Attacks

       The primary liability claims similarly fail because Plaintiffs have not plausibly alleged that

Qatar Charity proximately caused their injuries. Establishing proximate cause requires the plaintiff

to “plausibly allege that the defendant’s actions were a ‘substantial factor in the sequence of

responsible causation’ leading to the plaintiff’s injury and that the plaintiff’s injuries were

‘reasonably foreseeable’ or ‘anticipated as a natural consequence’ of those actions.” Freeman v.

HSBC Holdings PLC, 413 F. Supp. 3d 67, 84 (E.D.N.Y. 2019) (citing Rothstein, 708 F.3d at 91).

(Opp. Mem. at 48 (citing Miller v. Arab Bank, PLC, 372 F.Supp.3d 33, 46 (E.D.N.Y. 2019))).



                                                  35
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 45 of 53 PageID #: 1958




       Where, as here, alleged “terror funding” is the predicate, Plaintiffs must “meet Twombly’s

plausibility standard with respect to the need for a proximate causal relationship between the cash

transferred by” the defendant and “the terrorist attacks . . . that injured plaintiffs.” In re Terrorist

Attacks, 714 F.3d 118, at 124–25 (2nd Cir. 2013); accord Gonzalez v. Google, Inc., 335 F. Supp.

3d 1156, 1178–79 (N.D. Cal. 2018). Alleging, as Plaintiffs do, that a defendant enhanced an FTO’s

abilities is insufficient to state a claim. See Fields v. Twitter, Inc., 881 F.3d 739, 749–50 (9th Cir.

2018); Gill v. Arab Bank, PLC, 893 F. Supp. 2d 474, 522 (E.D.N.Y. 2012).

       Plaintiffs have failed to articulate any connection whatsoever between Qatar Charity and

the Attacks other than threadbare and conclusory allegations that such a connection exists. This

forecloses any possible finding of proximate cause. See, e.g., Owens v. BNP Paribas, S.A., 897

F.3d 266, 276 (D.C. Cir. 2018) (allegations that the funds were transmitted “directly to al Qaeda

[and used] to carry out the embassy bombings” were “conclusory allegations that do not meet

Twombly’s plausibility standard”) (citing Rothstein, 708 F.3d at 97); see also Siegel v. HSBC North

America Holdings, 933 F.3d 217, 225 (2d Cir. 2019); In re Terrorist Attacks on September 11,

2001, 714 F.3d 118 (2d Cir. 2013) (allegations that defendants provided funding to purported

charity organizations known to support terrorism, which, in turn, provided funding to terrorist

organizations, and that defendants knowingly and intentionally provided banking services for front

charities, were insufficient to make requisite showing of proximate cause where there were no

allegations that defendants participated in attacks, provided money directly to the organization that

carried out attacks, or that money donated actually was transferred to the organization and aided

in the attacks); Zapata v. HSBC Holdings PLC, 414 F. Supp. 3d 342, 356–57 (E.D.N.Y. 2019),

aff’d, 825 F. App’x 55 (2d Cir. 2020) (no direct relationship between subsidiaries of foreign

investment bank’s money laundering for cartels and the acts of violence perpetrated against them,




                                                  36
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 46 of 53 PageID #: 1959




for purposes of proximate cause where victims did not allege that the cartels required laundered

money to carry out specific acts of violence); see also Rothstein, 708 F.3d at 91–92.

        B.       Counts I and II Must Be Dismissed For Failure to Plausibly Plead a
                 Secondary Liability Claim

                 i.       Plaintiffs Have not Plausibly Alleged a JASTA Conspiracy Claim

        As stated in Qatar Charity’s Motion to Dismiss, Plaintiffs have not plausibly alleged a

conspiracy claim under JASTA, as they failed to allege facts required to meet the elements of such

a claim, namely: “(1) an agreement between two or more persons; (2) to participate in an [act of

international terrorism]; (3) an injury caused by an unlawful overt act performed by one of the

parties to the agreement; [and] (4) which overt act was done pursuant to and in furtherance of the

common scheme.” O’Sullivan v. Deutsche Bank AG, 2019 WL 1409446 at *9, (S.D.N.Y. March

28, 2019) (quotations and citation omitted).18

        Plaintiffs cannot even clear the first hurdle—an agreement. In support of its claim that it

has adequately pled an agreement, Plaintiffs’ Opposition claims the Complaint alleges an

“agreement among the government of Qatar, the Qatari Royal Family, the FTOs, and the

Defendants to finance the FTOs’ operations.” (Opp. Mem. at 38). Putting aside that the paragraphs

in the Complaint that it cites for that proposition do not actually make that claim,19 and the fact

that Qatar and the Qatari Royal Family, of course, cannot be subjects of this lawsuit as they are




18
   Plaintiffs claim as to “Defendants” waiver of arguments as to the elements of conspiracy (Opp. Mem. at 37 n.22)
clearly does not apply to Qatar Charity, which stated in its Motion to Dismiss in plain language that a conspiracy
requires the four elements, set out once again above, and that the “Complaint does not clear any of these hurdles.”
(MTD Mem. at 28-29).
19
   One cited paragraph, for instance, discusses a comment made by a Treasury Under Secretary regarding the
Elehssan Society, Complaint ¶ 137, and the other simply states in a conclusory fashion that “Hamas and PIJ
knowingly, willfully . . . conspired, confederated and agreed with Defendants to commit numerous acts of
international terrorism…including acts or murder.” (Complaint ¶ 111).


                                                        37
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 47 of 53 PageID #: 1960




immune from such litigation by the Foreign Sovereign Immunities Act,20 Plaintiffs fail to plausibly

support this conclusory allegation. Such a failure is fatal.

         Plaintiffs argue that they need not show a conspiracy between all parties. (Opp. Mem. at

41). However, this claim is entirely beside the point because they have failed to show a conspiracy

between any parties—and in particular, they have failed to show a conspiracy with the alleged

principals—i.e., Hamas and PIJ—which is necessary to plead a conspiracy. Kaplan v. Lebanese

Canadian Bank, SAL, 999 F.3d 842, 855 (2nd Cir. 2021) (“JASTA states that to be liable for

conspiracy a defendant would have to be shown to have ‘conspir[ed] with’ the principal.”). In an

apparent attempt to remedy this failure, Plaintiffs spend much of their Opposition discussing the

Union of Good. (Opp. Mem. at 10, 16, 25).

         However, as discussed previously, see supra Section I, Plaintiffs’ allegation that Qatar

Charity was a member of the Union of Good at the time of the Attacks, and remains a member

today, is demonstrably false. Moreover, it is Hamas and PIJ—not the Union of Good—who are

alleged to be responsible for the Attacks. And notably, the Union of Good is an SDGT not an

FTO, and therefore does not qualify as a terrorist organization for purposes of § 2339B of the

ATA. See, e.g., Weiss v. Nat’l Westminster Bank PLC, 768 F.3d 202, 209 n.7 (2d Cir. 2014)

(“OFAC’s SDGT designation is distinct from the State Department’s FTO designation. While an

organization designated as an FTO by the State Department is a terrorist organization for the

purposes of § 2339B, that is not true for organizations designated as SDGT by OFAC.”); see also

supra n.6.

                  ii.      Plaintiffs Have Not Plausibly Alleged a JASTA Aiding-And-Abetting

20
  See 28 U.S.C. § 1603 (which defines a “foreign state” to include “a political subdivision of a foreign state or an
agency or instrumentality of a foreign state”); see also, e.g., Leutwyler v. Office of Her Majesty Queen Rania Al-
Abdullah, 184 F.Supp.2d 277 (S.D.N.Y. 2001) (dismissing action against Queen of Jordan, a head of state, at
instance of Executive Branch that she is immune from suit in the United States and finding department within royal
court was a foreign state under meaning of FSIA).


                                                         38
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 48 of 53 PageID #: 1961




                         Claim

        Plaintiffs have also failed to plausibly allege that Qatar Charity was “generally aware of

[its] role as part of an overall illegal or tortious activity at the time that [it] provide[d] the assistance”

or that it “knowingly and substantially assist[ed] the principal violation” as required to allege a

JASTA aiding-and-abetting claim. Linde, 882 F.3d at 329 (quoting Halberstam v. Welch, 705 F.2d

472, 487 (D.C. Cir. 1983)).

        To demonstrate general awareness, Plaintiffs must show that the defendant not only knew

of the principal’s involvement in committing acts of “international terrorism,” but also that the

defendant and the principal were “one in spirit.” Halberstam, 705 F.2d at 484; Linde I, 882 F.3d

at 329 n.10. Plaintiffs have made no plausible allegations demonstrating that Qatar Charity had

knowledge of Hamas and PIJ’s involvement in the Attacks—much less that those organizations

and Qatar Charity were “one in spirit.” At best, Plaintiffs make conclusory statements about

knowledge and intent. (See, e.g., Complaint ¶ 363). This is simply not enough. The Second

Circuit made clear in Kaplan that “plaintiffs are required to include allegations of the facts or

events they claim give rise to an inference of knowledge” in order to plead knowing-substantial

assistance. 999 F.3d at 864 (emphasis added). Plaintiffs have failed to do so.

        In their Opposition, Plaintiffs take great care to point out various claims they have put forth

regarding Hamas and PIJ’s alleged public proclamations of responsibility for the Attacks. (Opp.

Mem. at 20). Even assuming the FTOs publicly claimed responsibility (whether or not such a

claim was indeed true) for each attack as Plaintiffs allege, Honickman holds that while Plaintiffs

are not required to allege that Qatar Charity knew of the public sources at the pleading stage, they

must nonetheless show that the Defendant “had the requisite general awareness at the [relevant]

time” of its alleged actions. Honickman v. BLOM Bank SAL, 6 F.4th 487, 501 (2d Cir. 2021)

(citations omitted). They have not done so here.


                                                     39
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 49 of 53 PageID #: 1962




       Plaintiffs also fail to plausibly allege that Qatar Charity “knowingly and substantially

assist[ed] the principal violation.” Linde, 882 F.3d at 329 (quoting Halberstam, 705 F.2d at 487).

Such a failure is grounds for dismissal. Siegel, 933 F.3d at 225. The Halberstam framework, of

course, provides six factors for determining “how much encouragement or assistance is substantial

enough.” 705 F.2d at 487. Although Plaintiffs walk through the six factors in their Opposition,

their allegations are largely silent as to Qatar Charity. (Opp. Mem. at 31-37).

       Nevertheless, the limited claims made as to Qatar Charity are unavailing and duplicative of

the nonsensical argument relied upon throughout, including that “Qatar Charity knew it was a

member of the Union of Good” which, somehow, shows Defendant’s state of mind. (Opp. Mem.

at 35). If anything, Qatar Charity’s decisive move to sever any association with the Union of Good

immediately following its designation, see supra Section I shows Qatar Charity’s clear intention

not to be affiliated with that entity. Indeed, the situation is analogous to Honickman where the

Union of Good itself was a customer of the bank defendant, and even though Israel “designated”

it in 2002, Honickman, 6 F.4th at 493 n.6, 50, the Second Circuit held liability did not attach

because “Plaintiffs failed to plausibly allege BLOM Bank was aware [its] [c]ustomers were related

to Hamas.” Honickman, 6 F.4th at 493, 502. Here, Qatar Charity took decisive action upon public

information coming to light.




                                                40
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 50 of 53 PageID #: 1963




III.     PLAINTIFFS FAILED TO PROPERLY EFFECT SERVICE OF PROCESS & A
         REQUEST TO SERVE BY EMAIL DOES NOT CURE THE FAILURE

         Qatar Charity adopts and incorporates by reference the arguments made in response to

Plaintiffs’ February 17, 2022, letter (ECF No. 60), in which it sought leave to exercise service via

email. (See Qatar Charity’s February 22, 2022 letter (ECF No. 63)). Those included, of course,

that there remain concerns regarding exercise of sovereign power in the territory of another without

their consent. AG of Can. v. R.J. Reynolds Tobacco Holdings, Inc., 268 F.3d 103, 111 n.6 (2d Cir.

2001).

IV.      CLAIMS AS TO FOREIGN PLAINTIFFS CONTINUE TO DEMONSTRATE
         THE PLAINTIFFS LACK STANDING TO BRING PERSONAL INJURY
         CLAIMS UNDER THE ATA

         Qatar Charity adopts arguments set forth in Section V of Masraf Al Rayan’s Reply

regarding certain Plaintiffs lack of statutory standing under the ATA and JASTA. Specifically,

four Plaintiffs lack statutory standing as non-U.S. citizens and thirteen Plaintiffs lack statutory

standing because non-immediate family members are precluded from obtaining solatium

damages.

V.       THIS COURT’S ORDER REGARDING JURISDICTIONAL DISCOVERY
         SHOULD STAND AND ANY RECONSIDERATION SHOULD FOLLOW A
         FULL BRIEFING

         This Court has twice rejected Plaintiffs’ requests for jurisdictional discovery, and the

Court’s prior decisions should stand. Plaintiffs first raised the issue during the Pre-Motion

Conference on January 28, 2022. (Tr. at 31:23–32:9). Second, following a subsequent request for

jurisdictional discovery made via letter by Plaintiffs on February 17, 2022 (ECF No. 60), this Court

stated in a Docket Order issued March 3, 2022, “Jurisdictional discovery is not necessary at this

time.”




                                                 41
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 51 of 53 PageID #: 1964




       Plaintiffs now make yet another request for jurisdictional discovery. (See Opp. Mem. At

81-83). This request should be rejected for the reasons it previously has been. Those include, as

articulated in Qatar Charity’s letter on the subject on February 22, 2022 (ECF No. 63), arguing

that jurisdictional discovery is improper where, as here, Plaintiffs have not made a “‘sufficient

start’ toward establishing jurisdiction” and instead have alleged the kind of “‘conclusory non-fact

specific jurisdictional allegations’ the Second Circuit” has found do not “require jurisdictional

discovery.” Alexander v. Porter, 2014 WL 7391683, at *6 (E.D.N.Y. Dec. 29, 2014) (citation

omitted). Indeed, a plaintiff is not entitled to “jurisdictional discovery to enable her to bolster an

inadequate pleading.” Langenberg v. Sofair, 2006 WL 2628348, at *6 (S.D.N.Y. Sept. 11, 2006)

(quotations and citation omitted).

       As detailed in Qatar Charity’s Motion to Dismiss and above, Plaintiffs have failed to allege

any prima facie basis for establishing personal jurisdiction over Qatar Charity—which, as alleged

in the Complaint, has no contacts in New York and never directed anyone, at any time, to take any

action in New York. (ECF No. 58 at 8–18). Instead, it is merely alleging that Qatar Charity was

a bank customer seeking to transfer funds from one foreign location to another through its bank,

Masraf Al Rayan, without regard for the particular mechanism by which these transfers were

accomplished, which is “insufficient under New York law” for establishing personal jurisdiction.

Berdeaux v. OneCoin Ltd., 2021 WL 4267693, at *12. Where Plaintiffs rely on a plainly

insufficient legal theory of jurisdiction (as Plaintiffs here plainly do, as argued above) to permit

jurisdictional discovery—such a request must be dismissed.

       Furthermore, even the information Plaintiffs seek through jurisdictional discovery shows

the futility of such an exercise. For example, Plaintiffs state that “facts concerning matters such

as…whether Qatar and its Royal Family control Defendants unquestionably bear on the




                                                 42
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 52 of 53 PageID #: 1965




jurisdiction.” (Opp. Mem. at 82). However, the Qatari government has immunity from this

litigation under the Foreign Sovereign Immunities Act, and absent an articulation of a “basis for

the court to first assume jurisdiction” over the sovereign—which has not been made here—courts

regularly deny such jurisdictional discovery. See Arch Trading Corp. v. Republic of Ecuador, 839

F.3d 193, 207 (2d Cir. 2016) (affirming district court’s denial of request for jurisdictional

discovery). Furthermore, if it is Plaintiffs’ hope to embark on a fishing expedition to show that,

as it alleges, “at all times relevant to this complaint” Qatar Charity was “directed, owned, or

controlled by the Qatari royal family” (Complaint ¶ 155), such a finding would only serve to

underscore FSIA protections because frequently an entity which is controlled or owned by a State

is entitled to FSIA protection as well, as an “agent[] or instrumentality.”21

        For all of these reasons and more, Plaintiffs’ third request for jurisdictional discovery

should be rejected as they have presented no new arguments which have any bearing on this

Court’s prior decisions.

        In the event Qatar Charity’s Motion to Dismiss is not granted with prejudice, and Plaintiffs

at that time file a Motion for Jurisdictional Discovery in a manner consistent with this Court’s

Rules, Qatar Charity will, and reserves the right to, raise all further available objections in a full

briefing on the matter.

                                                CONCLUSION

        For the foregoing reasons, the Court should dismiss the Complaint in its entirety.


 Dated: April 13, 2022                                         Respectfully submitted,
        New York, New York
                                                               DLA PIPER LLP (US)
                                                               By:  /s/ John Hillebrecht

21
  Defined as “a separate legal person, corporate or otherwise…which is an organ of a foreign state or political
subdivision thereof, or a majority of whose shares or other ownership is owned by a foreign state or political
subdivision thereof” which is not a US citizen or created under the laws of any third country. See 28 U.S.C. § 1603.


                                                        43
Case 1:20-cv-02578-BMC Document 75 Filed 04/13/22 Page 53 of 53 PageID #: 1966




                                                 John M. Hillebrecht
                                                 Kevin Walsh
                                                 Jessica Masella


                                           1251 Avenue of the Americas
                                           New York, New York 10020
                                           Phone: (212) 335-4500
                                           Email: John.Hillebrecht@us.dlapiper.com
                                                  Kevin.Walsh@us.dlapiper.com
                                                  Jessica.Masella@us.dlapiper.com

                                           Counsel for Defendant Qatar Charity




                                      44
